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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:
                                                              Bankruptcy Case No. 21-40882
Jeffrey Cates and Christine Cici-Cates,                       Chapter 11

         Debtors.


  NOTICE OF MOTION AND MOTION FOR EXPEDITED HEARING TO EXCLUDE
                     WITNESSES AND EVIDENCE


TO:      The parties in interest as defined in Local Rule 9013-3(a)(1).

         1.     Media 55, LLC (“Media 55”), through its undersigned attorneys, moves the Court

for the relief requested below and gives notice of hearing.

         2.     The Court will hold a hearing on this motion at 1:30 p.m. on Wednesday, March

15, 2023. The hearing will be conducted telephonically. Please dial 1‐888‐684‐8852 to call in for

the hearing. When prompted, enter access code: 5988550. When prompted, enter security code:

0428. Any person wanting to appear in person must contact Judge Fisher’s Courtroom Deputy at

651‐848‐1061 at least 48 hours prior to the hearing.

         3.     Because expedited relief is requested, any response to this motion must be filed and

served not later than two hours before the scheduled time for the hearing, unless otherwise

authorized by the Court. Local Rule 9006-1(e). Unless a response opposing the motion is timely

filed, the Court may grant the Motion without a hearing.

         4.     This Court has jurisdiction over this motion under 28 U.S.C. §§157 and 1334,

Bankruptcy Rule 5005 and Local Rule 1070-1. This proceeding is a core proceeding. The petition

commencing this case was filed on May 17, 2021 (the “Petition Date”). The case is now pending

before this Court.



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       5.      This motion arises under 11 U.S.C. § 105. This motion is filed under Fed. R. Bankr.

P. 9014 and Local Rules 9013-1 through 9013-3, and 9006-1(e).

                                  FACTUAL BACKGROUND

       6.      Medina 55 filed Claim No. 20 and the Debtors have objected to such Claim [Dkt.

No. 196].

       7.      This matter is now set for an evidentiary hearing on March 22, 2023, at 9:00 a.m.

       8.      Pursuant to the Court’s December 6, 2022, Second Amended Order Setting

Evidentiary Hearing and Extending Deadlines [Dkt. No. 239], the parties to this dispute were to,

among other things, “complete discovery” by January 16, 2023, exchange and file “final witness

lists” by February 20, 2023, and be ready to present their cases at the then scheduled hearing on

February 23, 2023. The parties complied with that Order: completing discovery, exchanging final

witness lists, and were ready to present their case at the then scheduled hearing.

       9.      With respect to discovery, there were no initial disclosures required or ordered (See

Fed. R. Bankr. P. 9014(c)), so the parties included requests for the disclosure and identification of

potential witnesses through interrogatories. (See Exhibit A (Medina 55’s Oct. 19, 2022, Answers

to Debtors’ Interrogatories) at Interrog. Nos. 2 and 13; and Exhibit B (Debtors’ November 7, 2022,

Answers to Medina 55’s Interrogatories) at Interrog. Nos. 2 and 5).

       10.     In Medina 55’s Answers to Debtors’ initial Interrogatories, Medina 55 listed 15

individuals having personal knowledge of the facts in this matter and whom it may call as a

witness. (See Exhibit A, at Interrog. Nos. 2 and 13). None of the individuals identified included

anyone associated with Oppidan Holdings, LLC (“Oppidan”). (Id.).
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       11.      Similarly, in Debtors’ Answers to Medina 55’s Interrogatories, Debtors listed 4

potential witnesses with knowledge of the facts in this matter whom it may call as witnesses, none

of which included anyone from Oppidan. (See Exhibit B at Interrog. No. 5).

       12.      Pursuant to Fed. R. Civ. P. 26(e), as incorporated through Fed. R. Bankr. P. 7026

and 9014, the parties have a continuing duty to supplement their discovery responses.

Accordingly, as discovery progressed Medina 55 supplemented its discovery responses and

productions several times, including two supplemented Answers with respect to its identified

witnesses and the scope of their anticipated testimony. (See Exhibit C, Medina 55’s Supplemented

Answers to Interrogatories dated December 7, 2022, and January 16, 2023). None of these

Supplemented Answers included Oppidan witnesses, and, notably, the December 7, 2022,

Supplemented Answer provided notice to Debtors that one of Medina 55’s witnesses, Jon Yanta,

would be providing expert testimony as to the valuation of the properties. (Id.).

       13.      Medina 55 also provided a separate expert disclosure notice to Debtors on

December 9, 2022, with a copy of a Broker Opinion of Value. (See Exhibit D). Debtors had the

opportunity to depose Mr. Yanta well before the January 16, 2023, discovery deadline, but elected

not to do so.

       14.      Debtors also never supplemented their Answers to Medina’s 55 Interrogatories or

gave any indication that they planned to call witnesses from Oppidan. Nor was there any indication

that they would be providing any expert testimony at the evidentiary hearing.

       15.      Prior to Medina 55’s expert disclosure notice for Mr. Yanta, Medina 55 planned to

use Oppidan’s valuation documents to support a fair market value of the property for September

1, 2022, the date of the Purchase Agreement between Oppidan and Debtors (the “Oppidan

Contract”) – which Medina 55 contends is the date its Purchase Agreement with Debtors was
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breached. Accordingly, on September 28, 2022, Medina 55 served a subpoena duces tecum on

Oppidan, requesting, inter alia, “all documents and communications” in Oppidan’s possession or

control relating to or supporting its “valuation of the property on or before September 1, 2022,” as

well as for “any time after September 1, 2022.” (See Exhibit E) (Subpoena on Oppidan).

       16.     Oppidan failed to timely respond to the subpoena and, when it eventually did under

threat of a motion to compel, it produced just two documents: a copy of the Oppidan Contract and

an 11-page internal pro forma for a potential development of the properties. The 11-page pro

forma, which is marked confidential, did not include any property valuations and was effectively

non-responsive to Medina 55’s subpoena. Medina 55 elected not to bring a motion to compel

against Oppidan, as there was nothing to suggest in Debtors discovery responses or Oppidan’s

production that Oppidan would be testifying at the hearing or was capable of providing expert

evidence as to the valuation of the properties. Medina 55 instead chose to use Mr. Yanta to provide

an expert opinion as to the fair market value of the property for September 2021.

       17.     Medina 55 first learned that Debtors planned to call a witness from Oppidan when

the parties exchanged final witness lists on February 20, 2023, just three days prior to the then

scheduled evidentiary hearing on February 23, 2023. According to Debtors’ witness list, Debtors

plan to call one of two Oppidan witnesses to testify regarding (1) Oppidan’s due diligence in

performing under the Oppidan Contract, (2) the history Oppidan’s interactions with the City of

Medina, (3) the changes to the Oppidan Contract, and (4) an opinion as to the value of properties

(which requires expert testimony). [Dkt. No. 284]. None of which was made known to Medina 55

beforehand.
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       18.     Prior to the scheduled evidentiary hearing, Medina 55 filed an expedited motion for

relief seeking to allow its main witness and company representative, Robert Atkinson, to appear

remotely via Zoom due to personal issues [Dkt. No. 278], which was heard on February 21, 2023.

       19.     At that hearing, the Court determined the issue was moot because the evidentiary

hearing needed to be extended due to inclement weather.

       20.     Following that hearing, the parties conferred with their witnesses and the Court’s

clerk in scheduling a new evidentiary hearing date. Debtors’ attorney indicated to the Court that

the proposed March 22-23, 2023, dates would work for Debtors. Medina 55 indicated that the

March 22, 2023, date would work best for its witnesses. (See Exhibit F, attached hereto) (email

chain with court clerk and between parties).

       21.     On February 27, 2023, the Court issued its Third Amended Order Setting

Evidentiary Hearing, setting the hearing to begin on Wednesday, March 22, 2023, at 9:00 a.m.

[Dkt. No. 288].

       22.     With the additional time afforded to the parties, and in lieu of raising an objection

at the evidentiary hearing and delaying those proceedings, the undersigned counsel for Medina 55

planned to file this motion in limine to exclude Debtors’ proposed witnesses for Oppidan, as

Medina 55 was not given any advance notice of those witnesses or that they would be called to

testify as an expert, and for the reasons further discussed herein and in Medina 55’ accompanying

Memorandum.

       23.     On February 27, 2023, Debtors’ counsel informed the undersigned that its proposed

Oppidan witnesses would not be available for the now scheduled March 22, 2023, evidentiary

hearing, and requested a date for scheduling a trial deposition for one of the proposed Oppidan

witnesses. (See Exhibit F).
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       24.     In response, the undersigned informed Debtors’ counsel of its plan to bring a

motion in limine to exclude the Oppidan witnesses for the reasons addressed herein, but would

agree to forego that motion (without waiving any objections that Medina 55 may have with regard

to their testimony) and accommodate the Debtors by agreeing to (subject to the Court’s approval)

the requested trial deposition or have Oppidan appear remotely, if Debtors extended the same

curtesy for Mr. Atkinson – agree to his appearance remotely or to use his deposition at the

evidentiary hearing. (Id.).

       25.     Debtors’ counsel would not agree to this accommodation and stated that it would

go ahead with its plan to schedule a trial deposition for one of its Oppidan witnesses. (Id.).

       26.     The undersigned responded that because the discovery deadline had passed, it

would not agree to attend the proposed trial deposition. (Id.).

       27.     Medina 55 now brings this Motion to Exclude the Oppidan Witnesses in this matter

because, inter alia, Debtors failed to identify them as potential witnesses in their discovery

responses, prejudicing Medina 55’s ability to conduct additional discovery relating to the Oppidan

witnesses’ anticipated testimony, and its ability adequately prepare for the evidentiary hearing.

Additionally, except for the witnesses’ potential expert testimony regarding the property

valuations, which would be highly prejudicial to Medina 55, their anticipated testimony regarding

Oppidan’s due diligence efforts, changes to the Oppidan Contract, and interactions with the City

of Medina are not relevant to any facts in dispute, and would only serve confuse the issues at hand

and result in a waste of time and judicial resources.

       28.     Expedited relief is warranted for the hearing in this case because of the late notice

of undisclosed witnesses by Debtors and the timing of the evidentiary hearing.
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                                               MOTION

        29.     Pursuant to Fed. R. Civ. P. 26(e), as incorporated through Fed. R. Bankr. P. 7026

and 9014, the parties have a continuing duty to supplement their discovery responses. Discovery

closed on January 16, 2023, and Debtors did not identify the Oppidan witnesses in their discovery

responses and never supplemented their responses to include those witnesses. Based on the

discovery that was produced, Medina 55 had no reason to expect that the Oppidan witnesses would

be called to testify, especially with respect to any expert testimony regarding the property

valuations.

        30.     Pursuant to Fed. R. Civ. P. 37(c)(1), as incorporated through Fed. R. Bankr. P. 7037

and 9014, “[i]f a party fails to provide information or identify a witness as required by Rule 26(a)

or (e), the party is not allowed to use that information or witness to supply evidence on a motion,

at a hearing, or at a trial, unless the failure was substantially justified or is harmless.” Id. (emphasis

added); See also 27 C.J.S. Discovery, Sanction for failure to disclose witnesses in answers to

interrogatories § 119 (West 2023) (compiling cases).

        31.     As explained in Medina 55’s Memorandum of law, Debtors’ failure is not

substantially justifiable or harmless because Medina 55 did not have the opportunity to adequately

interrogate the Oppidan witnesses as to their anticipated testimony through discovery, especially

with regard to any expert testimony on property valuations, and this prejudice cannot be cured

without causing further prejudice by way of undue delay and expense. See, e.g., Watkins Inc. v.

McCormick & Co., Inc., No. 15-CV-2688 (DSD/ECW), 2023 WL 1777474 (D. Minn. Feb. 6,

2023) (applying Rule 37(c)(1) on a pre-trial motion to exclude witnesses due to the plaintiff’s

failure to identify the witnesses in its discovery responses and failure to timely supplement those

responses to include the witnesses).
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       32.     In addition to being prejudicial, the majority of the Oppidan witnesses’ anticipated

testimony will be irrelevant, i.e., their testimony regarding Oppidan’s due diligence efforts,

contract changes, and discussions with the City. See Fed. R. Evid. 401 (evidence that is not “of

consequence in determining the action” is irrelevant).

       33.     Additionally, under Federal Rule of Evidence 403, relevant evidence may be

excluded “if its probative value is substantially outweighed by the danger of unfair prejudice,

confusion of issues, or misleading the jury, or by considerations of undue delay, waste of time, or

needless presentation of cumulative evidence.” Excluding witnesses whose anticipated testimony

is irrelevant and prejudicial under Rules 401 and 403 is proper on a motion in limine, even in a

bench trial, in order to narrow the issues at trial and eliminate unnecessary interruptions. See

Littleton v. Pilot Travel Centers, LLC, 568 F.3d 641, 648 (8th Cir. 2009) (upholding trial court’s

granting of motion in limine prior to bench trial excluding proffered witness who lacked personal

knowledge of facts relevant to the claims at issue).

       34.     This is a breach of contract case between Medina 55 and Debtors. The disputed

issues are whether Debtors breached their purchase agreement with Medina 55, or whether Medina

55 anticipatorily breached that purchase agreement, and the amount of damages. The Oppidan

witnesses’ purported testimony concerning Oppidan’s due diligence efforts on its contract with

Debtors, its changes to that contract, and its discussions with the City of Medina are wholly

irrelevant to the issues of who breach the purchase agreement between Debtors and Medina 55,

and the damages resulting therefrom. The Oppidan witnesses’ testimony, therefore, is irrelevant

and would only serve to “confuse the issues,” and cause “undue delay” and a “waste of time” for

the Court and the parties. Fed. R. Evid. 401 and 403.
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       35.     Further, because the Debtors previously testified before this Court in its September

8, 2021, verified motion to approve the sale of the properties to Oppidan, that the Oppidan Contract

price of $10,230.000 was “fair market value,” [Dkt. No. 46, at ¶ 21], they should be precluded

from presenting any evidence that contradicts this valuation under the doctrine of judicial estoppel.

See generally, Hossaini v. W. Missouri Med. Ctr., 140 F.3d 1140, 1142 (8th Cir. 1998) (“The

doctrine of judicial estoppel prohibits a party from taking inconsistent positions in the same or

related litigation.”) (collecting cases). Based on the Debtors representation of fair market value in

its verified motion, the Court made a finding of fact that the fair market value of the property was

the $10,230,000 price in its November 9, 2021, Order Approving the Sale of the properties to

Oppidan. [Dkt. No. 103]. Under principals of equity, the Debtors should not now be able to call

the Oppidan witnesses to provide testimony contradicting its prior fair market valuation of the

properties.

       36.     Lastly, the parties stipulated to the admission of evidence showing that Oppidan is

or was funding the Debtors’ litigation in this matter and therefore they have a pecuniary interest

in this litigation that calls into question any such witnesses credibility and may also explain why

Debtors excluded them from their discovery responses. (See Exhibit G) (Joint Exhibit 134,

discussing Oppidan’s funding of Debtors’ litigation).

       37.     For the foregoing reasons, the Oppidan witnesses should be excluded from being

called at the evidentiary hearing.



       WHEREFORE, Media 55 respectfully requests that the Court enter an order approving

the Motion and granting such other and further relief as the Court deems appropriate.
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Dated: March 6, 2023                  RAVICH MEYER KIRKMAN McGRATH
                                      NAUMAN & TANSEY,
                                      A PROFESSIONAL ASSOCIATION

                                      By: /e/ Will R. Tansey
                                             Will R. Tansey (#323056)
                                             Ted C. Wagor (#0396347)

                                      150 South Fifth Street, Suite 3450
                                      Minneapolis, MN 55402
                                      (612) 332-8511 - Telephone
                                      (612) 332-8302 – Facsimile

                                      ATTORNEYS FOR MEDINA 55, LLC
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                                          EXHIBIT A

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:
                                                             Case No. 21-40882
Jeffrey Cates and Christine Cici-Cates,                      Chapter 11

         Debtors.


          CLAIMANT’S ANSWERS TO DEBTORS’ INTERROGATORIES (SET 1)


TO:      Debtors Jeffrey Cates and Christine Cici-Cates, c/o its attorneys, Kenneth C. Edstrom and
         Sapientia Law Group, 120 South Sixth Street, Suite 100, Minneapolis, MN 55402.

         Claimant Medina 55, LLC, a Minnesota limited liability company (“Claimant”), provides

the following Answers to Debtors Jeffrey Cates’ and Christine Cici-Cates’ (“Debtors’”)

Interrogatories to Claimant dated September 19, 2022 (the “Discovery Requests”):

                      GENERAL OBJECTIONS AND RESERVATIONS

         These general objections are incorporated into every answer to the below Discovery

Requests as though fully set forth therein (the “General Objections”).

         1.     Discovery is ongoing and Claimant’s answers to the Discovery Requests are

based upon its best present knowledge as to the existence, location, and contents of the files that

it maintains.    While Claimant has used its best efforts to identify and locate information

responsive to the Discovery Requests, and bases its answers thereon, Claimant reserves the right

to supplement its answers if and when additional information is located by it.

         2.     Claimant objects to the Discovery Requests to the extent they seek information

protected by the attorney-client privilege, the work product doctrine, joint defense or common

enterprise privilege, or other applicable privileges, defenses or immunities.




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       3.      Claimant objects to the Discovery Requests to the extent they purport to require it

to provide information already in Debtors’ possession, custody, or control, or which is readily

available to Debtor from another more convenient or less expensive source.

       4.      Debtor objects to the Discovery Requests to the extent they seek discovery that is

not proportional to the needs of the case, considering the burden or expense of the proposed

discovery weighed against its likely benefit, the amounts in controversy, the parties’ resources,

the importance of the issues in the case, and the importance of the proposed discovery in

resolving those issues.

       5.      Claimant objects to the Discovery Requests to the extent they are overly broad,

unduly burdensome, or seek information that is neither relevant or likely to lead to the

production of admissible evidence.

       6.      Claimant objects to the Instructions and Definitions in the Requested Discovery to

the extent that they seek to impose duties and obligations upon Claimant that exceed those

imposed by the Federal Rules of Civil Procedure or the Federal Bankruptcy Rules of Civil

Procedure.

       Subject to the above General Objections, including any specific objections asserted

herein (the “Objections”), and without waiving the same, Claimant provides the following

answers to Debtors’ Discovery Requests as follows:

                           ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1: Identify all persons that provided any information that was
received, reviewed, and/or relied upon in responding to these Interrogatories as well as
responding to Debtors’ Request for Production of Documents and detail the specific information
provided by each person.

ANSWER: Subject to the Objections, and without waiving same: Robert Atkinson, with the

assistance of counsel for Claimant, for all Discovery Requests.



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INTERROGATORY NO. 2: Identify all persons with personal knowledge of any and all facts
underlying any and all claims or defenses in this action, including without limitation any agents
or representatives that You engaged to perform Your due diligence.

ANSWER: Subject to the Objections, and without waiving same:

       Name                       Contact                           Personal Knowledge
Robert Atkinson        May only be contacted through      President of Claimant with knowledge
                       undersigned counsel.               of, inter alia, all matters related to the
                                                          purchase agreement and negotiations
                                                          of same; Claimants due diligence
                                                          efforts; and amounts in dispute.
Rose Lorsung           rose@recreateluxuryhomes.com       Owner of ReCreate Real Estate and
                       952-457-7641                       Pulse Land Group with knowledge of,
                                                          inter alia, Claimant’s due diligence
                                                          efforts, including those related to
                                                          entitlements, development plans for
                                                          the property, negotiations for
                                                          extensions of purchase agreement, and
                                                          part of the amount in dispute.
Roger Christensen      Christe5257@gmail.com              Briefly worked as consultant with
                                                          Claimant during initial negotiations
                                                          for purchase of Property and may have
                                                          knowledge regarding those
                                                          negotiations.
Jeffrey Cates          Debtor                             Personal knowledge known to
                                                          Debtors.
Jonathan Yanta         Jon.Yanta@cushwake.com             Broker with Cushman & Wakefield
                       952-820-8734                       with knowledge of development plans,
                                                          marketing of property, potential
                                                          investors/end-users for property, and
                                                          amounts in dispute.
Ted Bigos              May only be contacted through      Chief Manager of Bigos-Bren Road,
                       undersigned counsel                LLC, a Member of Claimant, with
                                                          knowledge of Claimant’s ability to
                                                          perform under the purchase
                                                          agreement.
Dave Nash              Alliant Engineering                Project Mgr. with Alliant Engineering,
                       dnash@alliant-inc.com              may have knowledge regarding
                       612-767-9327                       Claimant’s initial plans to obtain city
                                                          approvals for comprehensive plan
                                                          amendment and rezoning of property.
Mike Brandt            Kimley-Horn                        Engineer with Kimley-Horn, with
                       mike.brandt@kimley-horn.com        knowledge of Claimant’s due
                       651-643-0428                       diligence efforts related to obtaining
                                                          city approvals and development plans


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                                                    for the property.
Dusty Finke            City of Medina               Planning Director for city with
                       dusty.finke@medinamn.gov     knowledge of Claimant’s development
                                                    plans for property, documents
                                                    submitted to city, and history of
                                                    property.
Patrick Luithly        Gibraltar Title              Title Examiner at Gibraltar Title,
                       Patrick@GibraltarTitle.com   escrow agent, with knowledge of
                       952-392-7156                 purchase agreement and Claimant’s
                                                    and Debtors’ request for return of
                                                    Earnest Money.
David Bade             Westwood, PS                 Director and PE for Westwood, PS,
                       david.bade@westwoodps.com    with knowledge of Claimant’s wetland
                       652-697-5724                 delineation efforts for development of
                                                    the property.
RJ Burgess             Rjburgess01@live.com         Neighbor of Debtors with knowledge
                       612-910-4702                 of Claimant’s efforts to acquire
                                                    additional land to include as part of
                                                    larger development with Debtors’
                                                    property.
Brad Seymour           Brad.Seymour@seacole.com     Associated with one of Debtors’
                                                    neighbors with knowledge of
                                                    Claimant’s efforts to acquire
                                                    additional land to include as part of
                                                    larger development.
Craig Greenberg        Huffman, Usem, Crawford,     Attorney for Claimant that may have
                       Greenberg & Smith, P.A.,     non-privileged information regarding,
                       Craig.greenberg@huscglaw.com inter alia, negotiations for additional
                       763-545-2720                 property to acquire for larger
                                                    development.
Michelle Culligan      Culligan Legal & Business    Attorney for Claimant that may have
                       Counsel, PLLC                non-privileged information regarding,
                       michelle@culligancounsel.com inter alia, negotiations for additional
                       612-308-0874                 property to acquire for larger
                                                    development and negotiations of
                                                    Amended and Restated Purchase
                                                    Agreement.


To extent there are other individuals with personal knowledge, additional contact information, or

other information not listed above, Claimant will produce non-privileged email records from

which the answer to this Discovery Request may be derived. Discovery is ongoing.




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INTERROGATORY NO. 3: Identify and describe your communications with anyone, including
without limitation Jeffrey Cates, Catherine Cici-Cates, or any of Debtors’ employees, attorneys,
agents, relatives, or friends, relating in any way to your Claim. Your description should include
the approximate date of the communication; whether the communication was in person, by email
or correspondence, by phone conversation, or by any other means; the individuals involved in the
communication; the substance of the communication, including the identification of any
documentation exchanged between you and the other person as part of the communication; and
whether you took contemporaneous notes of the communication.

ANSWER: Claimant objects to the extent this Discovery Request seeks privileged information

or work product. Subject to the Objections, and without waiving same, Claimant will produce

non-privileged email records from which the answer to this Discovery Request may be derived.

Discovery is ongoing.

INTERROGATORY NO. 4: Identify and describe all inquiries, research, investigative efforts,
and due diligence You performed regarding the Property that is the subject of Your Claim in the
above-captioned bankruptcy proceeding, including without limitation any of the obligations
identified in paragraph 16 of Your Response to Debtors’ Objection.

ANSWER:       Claimant objects to this Discovery Request to the extent it seeks privileged

information or work product, or seeks information about or from documents that are within

Debtors’ possession or control. Subject to the Objections, and without waiving same, Claimant

will produce non-privileged documents, including email communications and referenced

attachments that speak for themselves and from which the answer to this interrogatory may be

derived. Discovery is ongoing.

INTERROGATORY NO. 5: Explain in detail the basis for the decision to ask Debtors to amend
the January 31, 2019 purchase agreement between You and Debtors, resulting in the March 25,
2019 Amended Purchase Agreement, including without limitation the facts supporting the factual
allegations in paragraph 11 of Your Response to Debtors’ Objection that “it became clear to the
parties that additional time would be needed to complete Buyer’s due diligence obligations and
put together the desired packaged deal to obtain the required City Approvals.”

ANSWER: Claimant objects to this Discovery Request to the extent it seeks information about

or from documents that are within Debtors’ possession or control. Claimant further objects that

the referenced amendment to the purchase agreement speaks for itself as to the intent and



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understanding of the parties. Subject to the Objections, and without waiving same, Claimant will

produce non-privileged email communications from which the answer to this Discovery Request

may be derived. Specifically, in email communications with Debtor Jeffrey Cates from February

2019, Mr. Cates agreed with Claimant’s plan and strategy for presenting a formal application to

the city for an amendment to the city’s comprehensive plan and zoning classification and the

expected process for same, which would require additional time and changes to the purchase

agreement. Discovery is ongoing.

INTERROGATORY NO. 6: Explain in detail the basis for the decision to amend the March 25,
2019 Amended Purchase Agreement between You and Debtors, resulting in the October 28,
2019 “First Addendum [A/K/A First Amendment],” including without limitation any facts
supporting the allegations in paragraph 12 of Your Response to Debtors’ Objection that the
amendment was necessary for the same reasons as the March 25, 2019 amendment.

ANSWER: Claimant objects to this Discovery Request to the extent it seeks information about

or from documents that are within Debtors’ possession or control. Claimant further objects that

the referenced amendment to the purchase agreement speaks for itself as to the intent and

understanding of the parties. Subject to the Objections, and without waiving same, Claimant will

produce non-privileged email communications from which the answer to this Discovery Request

may be derived. Claimant further answers that at the time in question, Debtors knew that

Claimant had submitted an application to the city on or about May13, 2019, for a comprehensive

plan amendment and zoning changes for the property, which was later returned by the city as

incomplete. Debtors knew that additional information and work would be needed to resubmit

the application with the city, and Debtors agreed to give Claimant more time to do so. Discovery

is ongoing.

INTERROGATORY NO. 7: Explain in detail the basis for the decision to amend the October
28, 2019 “First Addendum [A/K/A First Amendment” between You and Debtors, resulting in the
May 8, 2020 “Second Addendum [A/K/A Second Amendment],” including without limitation
any facts supporting the allegation in paragraph 13 of Your Response to Debtors’ Objection that



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“the parties acknowledged that additional time would be needed for Buyer to meet its
contingency obligations under the Purchase Agreement.”

ANSWER: Claimant objects to this Discovery Request to the extent it seeks information about

or from documents that are within Debtors’ possession or control. Claimant further objects that

the referenced amendment to the purchase agreement speaks for itself as to the intent and

understanding of the parties. Subject to the Objections, and without waiving same, Claimant will

produce non-privileged email communications from which the answer to this Discovery Request

may be derived. Claimant further answers that at the time in question, Debtors knew that

additional due diligence work, including preliminary engineering work and designs, were needed

to support another application to the city for a comprehensive plan amendment and zoning

change for the property, which had yet to be completed. Additionally, in emails to Debtor in

April 2020, Debtors were informed that due to the covid-19 pandemic, everything was on hold.

Understanding these issues, Debtors agreed to give Claimant more time to complete its due

diligence and contingency obligations under the purchase agreement. Discovery is ongoing.

INTERROGATORY NO. 8: Explain in detail the basis for the decision to amend the May 8,
2020 “Second Addendum [A/K/A Second Amendment],” between You and Debtors, resulting in
the August 3, 2020 “Third Addendum [A/K/A Third Amendment],” including without limitation
any facts supporting the allegations in paragraph 14 of Your Response to Debtors’ Objection.

ANSWER: Claimant objects to this Discovery Request to the extent it seeks information about

or from documents that are within Debtors’ possession or control. Claimant further objects that

the referenced amendment to the purchase agreement speaks for itself as to the intent and

understanding of the parties. Subject to the Objections, and without waiving same, Claimant will

produce non-privileged email communications from which the answer to this Discovery Request

may be derived. Claimant further answers and specifically points to email communications with

Debtor Jeffrey Cates from July and August 2020, where Claimant and Rose Lorsung advise Mr.




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Cates of a recent negative traffic study and the need to re-strategize their approach with the city

to avoid large concessions as part of obtaining the city’s approval for the development. Debtors

agreed to this approach and the referenced amendment to align the purchase agreement with the

additional time Claimant needed to get the needed city approvals. Discovery is ongoing.

INTERROGATORY NO. 9: Describe in detail any and all discussions, negotiations, or other
communications regarding or relating in any way to changing, renegotiating, altering, or at all
concerning the August 3, 2020 “Third Addendum [A/K/A Third Amendment”] as referenced in
paragraph 18 of Your Response to Debtors’ Objection, including without limitation the dates,
times, and contents of any communications and the participants in any discussions or
communications.

ANSWER: Claimant objects to this Discovery Request to the extent it seeks information about

or from documents that are within Debtors’ possession or control. Claimant further objects that

the referenced amendment to the purchase agreement speaks for itself as to the intent and

understanding of the parties. Subject to the Objections, and without waiving same, Claimant will

produce non-privileged email communications from which the answer to this Discovery Request

may be derived. Claimant further answers that based on user interest in the development, and as

evidence in the produced documents, in late 2019 and throughout much of 2020, Claimant

sought to acquire additional properties to increase the size and scope of the development. In

January 2021, Claimant and Rose Lorsung reached out to Mr. Cates to inquire whether he would

be agreeable to selling his homestead parcel and another triangular parcel to be included in the

larger development and requested another extension of the due diligence and contingency

deadlines to accommodate the larger scope of the development. Additionally, Mr. Cates

subsequently requested Claimant to find ways to restructure the deal so that he could obtain an

immediate cash payment, even offering Claimant a reduced price if the same could be obtained,

which served as further bases for amending the Purchase Agreement. Discovery is ongoing.




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INTERROGATORY NO. 10: Identify in detail any developer, investor, or other individual You
contacted, approached, negotiated with, or otherwise communicated with regarding the Property
as referenced throughout Your Response to Debtors’ Objection.

ANSWER: Subject to the Objections, and without waiving same, Claimant will produce non-

privileged email communications from which the answer to this Discovery Request may be

derived. Claimant further answers that it believes it reached out to or otherwise contracted the

following potential investors, brokers, or lenders regarding the Property: John Davis, Mike

Breese, Samuel Shin (a group of investors); RJ Burgess (investor and neighbor to Debtors);

Mark Saliterman (investor/lender); Nick Carmichael (investor); Dave Pokorney (investor); Brad

Seymour (neighbor/investor); Brandon Karow (investor); John Quinlivan (investor); Buffalo

Lake Partners (investor); Dan Salzer (investor); Ted Bigos (investor); Ra’eesa Motala (broker);

Brian Netz (broker); Phill Harry (broker); Mike Leuer (investor), Jeff Minea (broker), and

various Cushman & Wakefield brokers. Discovery is ongoing.

INTERROGATORY NO. 11: Identify in detail any authorities, officials, or other individuals
associated with the City of Medina, Minnesota that You contacted, corresponded with, or
otherwise communicated with regarding the Property, including without limitation
communications or other documents related to Your due diligence obligations under the
Purchase Agreement.

ANSWER: Subject to the Objections, and without waiving same: Dusty Finke (information

provided above). Discovery is ongoing.

INTERROGATORY NO. 12: Identify in detail any authorities, officials, or other individuals
associated with Hennepin County, Minnesota that You contacted, corresponded with, or
otherwise communicated with regarding the Property, including without limitation
communications or other documents related to Your due diligence obligations under the
Purchase Agreement.

ANSWER: Subject to the Objections, and without waiving same: None. Discovery is ongoing.

INTERROGATORY NO. 13: Identify in detail any individual that You might call as a witness
at any hearing in the above-captioned matter, including that individual’s name, address, contact
information, and what knowledge that person might be called to testify regarding.




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ANSWER: Subject to the Objections, and without waiving same, Claimant may call anyone

identified and listed above in its answer to Debtors’ Interrogatory No. 2.

INTERROGATORY NO. 14: Identify the basis for the factual assertion contained in paragraph
15 of Your Response to Debtors’ Objection that “[i]t was abundantly clear and made known to
Debtors that this process required a significant time investment and Mr. Atkinsons’s efforts were
frustrated by the lingering effects of the Covid-19 pandemic.”

ANSWER: Subject to the Objections, and without waiving same, Claimant will produce non-

privileged documents, including email communications and referenced attachments that speak

for themselves and from which the answer to this interrogatory may be derived.

INTERROGATORY NO. 15: Identify the basis for the factual assertion contained in paragraph
16 of Your Response to Debtors’ Objection that You “acted prudently and in good faith to satisfy
the Buyer’s obligations under the Purchase Agreement[.]”

ANSWER: Subject to the Objections, and without waiving same, Claimant will produce non-

privileged documents, including email communications and referenced attachments that speak

for themselves and from which the answer to this interrogatory may be derived.

INTERROGATORY NO. 16: Identify the basis for the factual assertions contained in paragraph
17 of Your Response to Debtors’ Objection.

ANSWER: Subject to the Objections, and without waiving same, Claimant will produce non-

privileged documents, including email communications and referenced attachments that speak

for themselves and from which the answer to this interrogatory may be derived.

INTERROGATORY NO. 17: Explain in detail any and all communications You had with the
title company and/or any of its representatives, agents or employees regarding, concerning, or
otherwise related to Your $100,000 earnest money under the Purchase Agreement.

ANSWER: Subject to the Objections, and without waiving same, Claimant will produce non-

privileged documents, including email communications and referenced attachments that speak

for themselves and from which the answer to this interrogatory may be derived.

INTERROGATORY NO. 18: Identify the relationship between You and Bigos Management,
Inc.



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ANSWER: None. Bigos Management, Inc. is the property management company owned by

Ted Bigos, and has no relationship to Claimant.




AS TO OBJECTIONS:

Dated: October 19, 2022
                                            RAVICH MEYER KIRKMAN McGRATH
                                            NAUMAN & TANSEY,
                                            A Professional Association

                                            By:    /s/ Ted C. Wagor
                                                   Will R. Tansey (#323056)
                                                   Ted C. Wagor (#0396347)
                                            150 South Fifth Street, Suite 3450
                                            Minneapolis, Minnesota 55402
                                            Telephone: (612) 332-8511
                                            wrtansey@ravichmeyer.com
                                            tcwagor@ravichmeyer.com

                                            ATTORNEYS FOR CLAIMANT




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AS TO ANSWERS:


I, Robert Atkinson, as Manager of Medina 55, LLC, declare as follows: I have read the foregoing
interrogatory answers and I am familiar with their contents. Based on my review of all of my
files, emails, books and records maintained on behalf of Medina 55, LLC, and its predecessors-
in-interest of which I am also associated with, I affirm that these interrogatory answers are true
and correct to my knowledge. I declare under penalty of perjury under the laws of the United
States of America that everything I have stated in this document is true and correct.



Executed: October 19, 2022.

Hennepin County, Minnesota



                                              Robert Atkinson




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                                           EXHIBIT B

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re: Jeffrey Cates and Christine Cici-Cates                       Bky File No. 21-40882
                                                                         Chapter 11
Debtors.


      DEBTORS’ RESPONSES TO CLAIMANT MEDINA 55’S INTERROGATORIES


TO:     Claimant Medina 55 and its attorneys Will R. Tansey & Ted C. Wagor, Ravich Meyer
        Kirkman McGrath Nauman & Tansey, 150 South Fifth Street, Suite 3450, Minneapolis,
        MN 55402:

        Debtors, for their Responses to Claimant Medina 55’s Request for Interrogatories, states

and alleges as follows:


                                   GENERAL OBJECTIONS
        Each of these General Objections is incorporated into the specific answers below to each

numbered Interrogatory as if fully set forth therein:

        1.     Defendants object generally to these Interrogatories as being vague, ambiguous,

overbroad, unduly burdensome, irrelevant, immaterial, and not reasonably calculated to lead to

the discovery of admissible evidence.

        2.     Defendants object generally to the Interrogatories to the extent they seek

information, or purport to impose duties or obligations, beyond the requirements of The Federal

Rules of Bankruptcy Procedure, including any applicable Federal Rules of Civil Procedure and

any applicable Local Bankruptcy Rule. Defendants object generally to these Interrogatories to

the extent they seek information outside the knowledge of Defendants, and which are more

appropriately directed to third-parties.

        3.     Defendants object generally to the Interrogatories to the extent they seek

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information protected from disclosure under the attorney-client privilege or work-product

doctrine.

          Defendants further state that they are continuing their own discovery and investigation of

the subject matter of this litigation, and they reserve the right to rely on, and/or present at trial or

other hearing on this matter, any facts or documents that may be subsequently learned or

obtained as a result of such ongoing discovery and investigation, or which may be adduced at

trial. In accordance with The Federal Rules of Bankruptcy Procedure, including any applicable

Federal Rules of Civil Procedure and any applicable Local Bankruptcy Rule, Defendants will

supplement these Answers if additional responsive information is discovered in the course of this

matter.

          Defendants further state that they reserve the right to object to the admissibility at trial or

use at any other hearing or proceeding of any of these Answers or of any documents identified

by these Answers.

                               ANSWERS TO INTERROGATORIES


INTERROGATORY NO. 1: Identify all persons that provided any information that was
received, reviewed, and/or relied upon in responding to these Interrogatories as well as
responding to Claimant's contemporaneously served Request for Production of Documents and
Request for Admissions, and detail the specific information provided by each person.

ANSWER:

Debtors.

INTERROGATORY NO. 2: Identify all persons with personal knowledge of any and all facts
underlying any and all allegations, claims or defenses in this action, including, but not limited to,
Your allegations in the Debtors' Objection that Claimant committed fraud, acted in bad faith,
failed to comply with Minn. Stat. § 500.24, beached and/or repudiated the Purchase Agreement,
was unable to perform under the Purchase Agreement, and/or stated the deal was off if Debtors
did not agree to enter into the Restated Purchase Agreement.

ANSWER:

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In general, see all emails provided in response to Document Requests which identify those
individuals involved with these topics.

INTERROGATORY NO. 3: Identify and describe any and all efforts made by or known to
You relating to satisfaction of the contingencies and due diligence obligations contained in the
Purchase Agreement, Oppidan Contract and New Oppidan Contract, including, but not limited
to, obtaining any approvals from the City Council of the City of Medina, Minnesota, or any other
governmental bodies or authorities, for the future development of any of the Property.

ANSWER:

We had continual discussions with Oppidan concerning their due diligence which began
immediately after the execution of the September 1, 2021 Oppidan contract. In general see all
emails produced between us and Oppidan.

INTERROGATORY NO. 4: Identify all persons that expressed an interest in purchasing any of
the Property from January 2018 to present, including but not limited to Oppidan, and describe
the date and time such interest or offer was expressed and nature of their interest, if any offers
were made, the amount of the offer, and the documents and communications related to each
interest and offer.

ANSWER:

See Documents produced:


August 2, 2021 Jeff received an email from Don Edam, Realtor with Engel & Volkers stating he
had a investor/developer out of Chicago who was interested.

August 15, 2021 Email received from Jay Moore, Oppidan. Very interested in pursuing our
land.

August 18, 2021 Email received from Don Edam, Engels & Volker. Chicago investors like the
site and the investment and described what they required in the email.

 August 24, 2021 Email received from Jay Moore, Oppidan. Purchase agreement today or
tomorrow as we discussed yesterday.

August 27, 2021 Email received from Mike Breese, Pinpoint Group investor, Chicago Group.
He commented sympathetically on our purchase agreement and had choice words regarding
Robert Atkinson’s character. Chicago group was interested in helping us get out of our situation
with Atkinson if we signed a deal with them.

September 1, 2021 Email received from Jay Moore regarding the executed purchase agreement.


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September 15, 2021 Email received from Oppidan regarding earnest money.


INTERROGATORY NO. 5: Identify all persons whom you have considered, contacted,
or plan to call as a witness in any upcoming hearings in this matter.

ANSWER:

No decision has been made but likely Debtors, Robert Atkinson and Rose Lursong.

INTERROGATORY NO. 6: Identify any and all statements, allegations, claims or
defenses in Claimant's Response which You dispute and describe in detail the communications,
documents, and factual basis supporting Your contention that such matters are disputed.

ANSWER:

Our business relationship began in 2018 with Robert Atkinson when we received a letter of
intent on September 5, 2018 for the properties called CRP #2 and CRP #3. This letter of intent
indicated that CRP#3 had a stipulation that “Buyer will be granted a right of first refusal, for a
period of 3 years from the date of closing” to purchase. The plan discussed was to close on the
first parcel once the necessary governmental approvals and other due diligence items were taken
care of and then the second parcel within 3 years.

We entered this agreement in good faith and trusted Robert Atkinson. He had a vision that we
agreed with for our property. Never did we think it would drag out 3 years with nothing to show
but a lot of emails, phone calls, empty promises and our missed opportunity to cash in on our
property value and forced into bankruptcy.

In early February 2019 it was discussed that we go to the city council meeting to make a formal
objection about the final approval of the Comprehensive Plan. Rose Lorsung coached Jeff on
what to say to the council. After that meeting we felt positive about the team in place and that
there was a plan in place to move forward on the due diligence and get the Comprehensive Plan
Amendment application submitted. Rose Lorsung researched and found information regarding a
legal settlement allowing the Comp Plan Amendment to be approved. Robert Atkinson said he
would immediately schedule a time for all of us to meet with the Mayor. He agreed with Jeff’s
email dated 02/13/2019 stating we should expedite the comp plan change.

February 26, 2019 Jeff sent an email with a reminder of the Planning Commission meeting
coming up and wanted to know if anything would be presented. Rose Lorsung answered with a
long detailed explanation about their process and that our very best position is to go down the
road with their development plan.

March 4, 2019 Jeff inquired if there would be an application submitted for the March 9, 2019
meeting and Rose Lorsung replied “too short notice”.




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March 7, 2019 received emails from Robert Atkinson and Rose Lorsung regarding meeting with
Dusty Finke at City Hall regarding the Comprehensive Plan Amendment Application

March 29, 2019 we received an email form Robert Atkinson with a formal letter regarding Cates
City Approvals Timeline for the first application for the Comp Plan Amendment and
Rezoning. The start was April 2019 with all city approvals estimated January-February 2020 for
the Development Agreement. Again we were feeling positive about the team in place.

March 28, 2019 Received email from Robert Atkinson that Earnest Money was funded on
March 27, 2019

 April 25, 2019 communications between Rose Lorsung and Jeff with Medina letter and other
information regarding taxes, settlement and personal letter from us. In that email Jeff asked
when she would like us to sign the application. Rose Lorsung emailed on May 12, 2019 that she
needed application signed as well as letter.

May 22, 2019 Rose Lorsung forwarded the application, memo, engineer’s memo and
attachments of the memo. She stated she would let us know when the City schedules us so we
can attend the meeting. Just as a note, we believe in hindsight that the application fee was never
paid and that is one reason why this application collected dust at the city.

June 10, 2019 Jeff emailed asking if we would be at the meeting and Robert Atkinson said “no.
We are going to try for next month. I didn’t have my act together to get on this months agenda.
Sorry!”

July 8, 2019, Jeff emailed verifying that we are planning on attending and presenting a the
meeting. Rose Lorsung answered “It will most likely be next month”. Robert Atkinson
answered “we’re not quite ready to attend tomorrow’s meeting”. On July 15, 2019 Jeff emailed
asking if the plan would be to be at the August 13 meeting. Robert Atkinson replied “yes’.

 August 12, 2019 email from Rose Lorsung stating that “once the application is complete” and
“Bobby is working towards making the application complete”.

September 9,2019 Jeff again emails Robert Atkinson to verify the plan to attend the October
meeting since the application has been sitting at City Hall for a few months and we need to show
we are proceeding and serious. Robert Atkinson replies, “yes!”

 September 21, 2019 Rose Lorsung emails Robert Atkinson and Jeff about the city initiating a
feasibility study regarding a lift station to serve our area. Jeff also sent and email to Robert
Atkinson about the nest meeting date for the planning commission. Robert Atkinson said he
would call Jeff and Rose next Wednesday.

October 5, 2019 Jeff send another request for the October Planning commission meeting.

Robert Atkinson responded the next day saying he would call to discuss, not attending the
October meeting but will be ready for the next one. Also, said we need to sign an extension to

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the purchase agreement. In response, Jeff asked what the deadlines are to be considered for the
next meeting. He sent another request on October 18 for the November meeting.

October 22, 2019 Rose Lorsung send email stating Dusty said December but only if more
information was provided from the engineer by the end of October but they wouldn’t be able to
get it done. On October 28 signed extension amendment was emailed to Robert Atkinson.

Jeff and Robert Atkinson discussed on November 26, 2019 about starting some value
engineering costs for the process to get thru the city for final approval. Jeff emailed the
conversation topic and Rose Lorsung answered “Yes, I can do that”.

January 8, 2020 Jeff emailed Robert Atkinson and Rose Lorsung, recapping the conversation he
had with Robert Atkinson about the “Great News” about Robert stating that all funding will be
officially approved and funds ready to access by 1/15/2020 for all city costs to final approval.
And that he said for sure presenting at the March 2020 planning commission meeting.

April 12, 2020 Jeff emailed Rose Lorsung to find out about getting the plans and presentation to
the city ready to submit. Rose Lorsung answered “Not yet but I’m working on it”. On April 27
Jeff asked for an update. Robert Atkinson replied, No progress yet on presentation but that
Kimley Horn would be getting it in a week.

“There’s no hurry as the whole world is taking their time making any decisions”.

Finally received an email from Robert Atkinson on May 29, 2020 showing a single page drawing
with 4 buildings 1.1 million square feet total stating we need to vacate the driveway and provide
an alternate ingress/egress to residential properties.

June 2, 2020 Emails received from Robert Atkinson about addressing the driveway

June 4, 2020 Email received from Rose Lorsung and Kimley Horn about updating the site plan
and traffic memo along with the sewer memo next week and road connection to the SE property
line. Bobby was working on building renderings with an architect.

June 14, 2020 Jeff requested update

June 15, 2020 received and update from Kimley Horn regarding the traffic analysis. Intersection
is failing as is unless 4 lane improvements made. Rose Lorsung emails Robert Atkinson and
says “Ok. Bobby what are you going to do, cancel this PA?”.

He responds “No! We’re going to see if we can still get it rezoned!”

June 23, 2020 Kimley Horn provides Sewer and Water Demands for project

 July 5, 2020 Jeff requests and update and Rose Lorsung responds there will be a meeting next
week with Bobby and the Engineer to go over strategy. Then pulling submittal together and
submitting the comp plan amendment for the August agenda.

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Any developer can draw up plans for a project of what he envisions but if there is no real
determination from the city how can you keep proceeding and making the project larger and
larger with no guidance from the city government entities. How do you draw up a site plan
without doing the Wetland Studies, Surveys ,Soil Borings, Environmental Review Traffic
Studies, Site plan based on the completed studies?

This was a turning point when we began to loose faith in the buyer. No real progress, just a lot
of talk of why it is delayed. The project scope was too big for the area and these indications
were creating issues. He was dreaming up this financial goldmine for himself and not thinking
about everyone else involved and using their resources. Atkinson was designing this 1.1 million
square foot complex without any input from the city as to what the planning commission or the
council felt was appropriate.

More bad news came on July 10, 2020 from Rose Lorsung. Basically the strategy would be to
resurrect the lawsuit related to the city because this was our best chance of getting the Comp
Plan Amendment and rezoning. Refer to the email dated July 20, 2020 @ 11:25 am from Rose
Lorsung for the details. Also refer to Rose Lorsung email string dated July 27, 2020 9:14 am
“Email for Gerald Duffy, esq. regarding Cates first application to the City of Medina”.

August 5, 2020 In light of the need for, again, more time, we signed the 3rd Amendment to the
Purchase agreement. We said we were totally engaged and ready for the next steps.

August 28, 2020 Email from Rose Lorsung stating work on application and discussions with
attorney and strategy on assembling additional parcels. “Application will be soon.”

At this point, we are frustrated but moving along thinking they actually are creating something to
submit.

September 9, 2020 Email response from Rose Lorsung saying now they need to wait until after
elections and planning commission and city council seats turn over in January before we can
proceed on the submittal to the city because we need 4 out of 5 votes to approve comp plan
amendment.

October 8 2020 Email response from Rose Lorsung saying we have to wait on elections but that
they are studying development impacts and preparing behind the scenes for the “big first step
and want to do it right”.

November 9, 2020 Received email regarding signing of 4th Amendment to the Purchase
Agreement. At this time we are so very frustrated and the 3rd Amendment gives them until
January 31, 2022. We are not interested in giving any more time extensions. There has literally
been no progress showing this project can be completed. All we are hearing is assembling more
land for the project.

November 16, 2020 Jeff emails Robert Atkinson regarding that he needs another extension. Jeff
states that we have been patient and working with you on this and want to continue to the


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end. However, if another extension is required then we need a non-refundable extension
payment of $400,000.00.

On November 23, 2020 Rose Lorsung emailed a response saying Robert Atkinson is not willing
to pay an extension payment.

December 2, 2020 Email string for updates for presenting in January 2021. No clear date given.

 At a 2020 meeting with Rose Lorsung she commented that we needed “to get tough” on
Atkinson Holdings, LLC because he was busy working on another deal and letting ours
slide. She herself quit the team for a time because of her own frustrations. We recently learned
that he has not paid anyone for work they have done on this agreement so far. We also learned
he has no funds/resources of his own and cannot find anyone with enough funds/resources to
close this deal.

January 5, 2021 Jeff requests update. Rose Lorsung responds “We are on this now, I am putting
a strategy together for this and we are talking to our planning attorney today about the settlement
and the phasing of approvals. I will let you know where we are at”.

January 6, 2021 8:39 am Email from Rose Lorsung. This one asks for Jeff to call her. They are
moving ahead and want to discuss the assemblage of acreage and buying our homestead. A little
bit unsettling because the project has completely changed to a much larger one and one that is
not what has been discussed for the past TWO years. They are basically bullying us to sign on
the amendment or our homestead will be isolated….

January 11, 2021 Jeff responds to Rose Lorsung and Robert Atkinson regarding the revised, new,
larger, proposed project that already has been delayed by stalling tactics and excuses. Jeff
explains that it has been 2 years with no meaningful movement to develop our property. We
cannot afford to keep delaying so there will be no more extensions from us. He also explains he
will need to start marketing CRP#3 if we cannot come to any agreement on payment terms by
1/15/21- basically suggesting a decreased price for an immediate buyout. If no agreement to
payment then agree to cancel the Purchase agreement by 1/18/21. He listed many questions to
get a better understanding of what the proposed master development plan is in regard to us.

See that email for more details.

January 15, 2021 9:35 am Email response from Rose Lorsung. See that email. No real
substance or plan. Just the same comments as usual.

January 16, 2021. Jeff emails Robert Atkinson to get a response on the payment terms and other
terms discussed by 1-19-21.

January 27, 2021 Jeff send email request about submitting for approval to the city.

January 29 and 31, 2021 Jeff send email request again about getting something started with the
city.

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February 2, 2021 Email response from Rose Lorsung stating application being put together and
takes time and the city has strict rules of what needs to be submitted.

However, we understood that we had already submit our application in May 2020. This is what
has been so confusing and frustrating and causing anxiety. The constant stalling tactics and
excuses and misleading statements about what is really going on behind the scenes.

We assume he never paid the application fee to the city of Medina after we signed and submitted
in May 2020.

February 9, 2021 Email from Rose Lorsung stating she spoke with Robert Atkinson last week
and he confirmed to we are on schedule to “submit to the city in about 30 days”.

February 10 and 11, 2021 Email responses from Robert Atkinson assuring us of the companies
that are engaged and the work that is being done. However, in order to keep moving forward we
have to sign the agreement for our homestead and CRP#1. He says once we execute the
amendment the professionals are ready to get started. Again, pressuring and bullying tactics.

February 11, 2021 Email from Rose Lorsung with 4th Amendment to the purchase agreement that
includes our homestead and CRP#1 attached. She states this is critical to move forward. Again,
pressuring and bullying tactics.

 February 18, 2021 Email string between Robert Atkinson, Rose Lorsung and Jeff Cates
regarding information requested by Jeff regarding our bank asking for more information to
extend loans. They told Jeff in those emails no outline of schedule and that you know we are
continuing to move forward to the city. Jeff also emailed them on February 19 to again get the
information requested on schedule to get approvals.

February 28, 2021 Jeff sends email explaining he needs more information before he can sign his
“life away”. See details of that email.

March 3, 2021 Email form Rose Lorsung replies to email on February 28. Lists answers to
questions but offers no guarantees of progress. See details of that email.

March 16, 2021 Email form Rose Lorsung explaining that Robert Atkinson cannot risk hard
money until city gives assurances to move forward. The amendment needs to be signed or we
are at a standstill.

March 22, 2021 Email from Rose Lorsung. She spoke with Robert Atkinson and he isn’t
willing to give any money until city approval and preliminary plat approval. She states Robert is
done negotiating with you and the amendment stands and it needs to be signed to move forward.

April 22, 2021 Email from Rose Lorsung stating Robert Atkinson is still working on final
details and also may have someone who will buy you out early.



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May, 2021 -See emails following showing lies, smoke and mirrors and promises. Barrage of with
threats and demanding to sign immediately and give away all my properties immediately to him.

May 11, 2021 Email from Rose Lorsung Term Sheet for Amended PA

May 19, 2021 Jeff sends email to get update on how new PA is going

May 31, 2021 Rose Lorsung email response to Jeff for a closing on June 18, 2021

June 11, 2021 Rose Lorsung email response to Jeff on June 18, 2021 closing

June 15, 2021 Email from Rose Lorsung regarding the buyout. Robert Atkinson is now looking
to buy the 67 acres directly and finance thru Northstar Bank. In underwriting now.

June 17, 2021, Jeff emails Rose Lorsung regarding the PA amendment and asks for verification
of the neighbor, Burgess, verification of a signed agreement. This is something we had asked for
numerous times. We wanted proof.

June 21, 2021 Rose Lorsung send revised 4th amendment(version 5) to be signed.

June 22, 2021 Rose Lorsung email asking to sign the amendment otherwise bank cannot
underwrite the loan.

June 23, 2021 Jeff emails Rose Lorsung we need a minimum of $3,000,000 up from by July 15,
2021.

July 1, 2021 Email from Michelle Culligan regarding discussion with our attorney Jan Larson
regarding the terms of 4th Amendment. A great deal of review back and forth between attorneys
with no clear agreement being made.



July 20, 2021 Email from Rose Lorsung pressuring us into signing a deal we are not agreeable
to.

July 27, 2021 Email from Rose Lorsung reminding us that the CRP#1 listing agreement needed
to be extended. As this listing expired, we received a few calls regarding the land for sale. We
decided to follow up with the list of contacts Jeff had plus the new ones that had called with
interest.

July 28, 2021 Email from Michelle Culligan with draft of amended and restated purchase
agreement for review. Again, we were still not comfortable signing away all of our property to
someone who had not performed in two years but kept asking for more of our property with no
clear end date.

August 9, 2021 Email received from Matt Oelschlager, CBRE. Letter of Intent presented to us.

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August 10, 2021 Met with Don Edam at Engel & Volkers to find out more about his investor. It
turned out that the representative from the Pinpoint Group from the original Term Sheet that we
received from Robert Atkinson and Rose Lorsung was at the meeting. The consensus was that
no one was interested in working with Atkinson because he was not trusted and was
greedy. They contacted us because they were still interested in the property.

August 1, 2021 Chris Cates emailed to inquire if the original earnest money from Robert
Atkinson was still in the account. We were suspicious. A response from Gibraltar Title
explained to us that they were contacted July 31, 2019 and told the purchase agreement was
being cancelled and requested a refund of the money. They were told that a cancellation
agreement signed by both parties would be required to return the funds.

Title company made repeated attempts to get the cancellation agreement thru January 24,
2020. We consider this fraudulent. Atkinson went behind our back to steal the money back.

August 14, 2021 Email from Rose Lorsung inquiring why we are holding up the deal.

August 15, 2021 Email from Rose Lorsung pressuring us to sign the deal.

August 23, 2021 Email from Rose Lorsung again pressuring us to sign the deal.

 August, 2021 We felt that we were left with no other choice but to cancel his contract due to
lack of performance, breach of contract, NO Due diligence, violated all the terms in the contract
about proceeding in good faith and due diligence. So it's clear, clear, clear that BA didn't meet
the contract requirements.

September 10, 2021 Email from Rose Lorsung stating that the wetland delineation would be in
the next week and would notify the exact date later. We were baffled that after all this time of
having a 3 growing season to get this done they finally scheduled it. A little too late to
perform… We are not sure why they waited so long. This wetland study would have given
them a better idea of how much square footage they could actually build and where on the
property. You can see on the initial site drawing that they just placed the buildings where they
wanted no where they would fit on the site to minimize wetland impacts.

 September 15, 2021 Chris Cates emailed Gibraltar Title to find out if there had been any
additional contact from the buyer. They replied a representative had contacted them. See email
for more details.

September 16, 2021

Posted sign on property for anyone hired by Robert Atkinson that they could not lien the
property for non-payment of services.

 Robert Atkinson would tell Jeff he had interested or committed clients for the development on a
regular basis. It seems to us, if he had so many user commitments that he would be proceeding
with getting his due diligence complete to get the project approved. Not keep looking for ways to

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add more acreage to satisfy his greedy vision. How do you get companies to sign a lease if you
have no plan in place to get the actual city/governmental approvals?

 Any developer can draw up purchase agreements and plans for a project of what he envisions,
but if there is no real determination from the city for approvals or guidance how can a person
keep proceeding and making the project larger and larger with no guidance from the city
government entities? Apparently, at the end point, the cities of Medina and Corcoran would
govern the approvals if he was actually acquiring extra parcels and where would that money for
approvals going to come from?

 Robert Atkinson was working to make it an even larger project by acquiring and additional 60 +
acres from neighbors. We fell to the wayside while he was out doing other deals. He also
bragged all about his Chaska and Chanhassen projects he was working on. Our understanding is
these deals failed as well. We came to the conclusion he was spending far more time on his
Chanhassen project than ours. Robert Atkinson was dragging out our purchase agreement with
extensions so he could hang onto our land for his grand ideas and no funds to complete any due
diligence to submit an application to the city. It had been 2 years with little to no progress. We
were losing confidence and getting anxious with our own financial situation.

 We chose to cancel the purchase agreement with Atkinson Holdings, LLC because we lost
confidence in his ability to get government approvals or funds within the terms of the purchase
agreement. Atkinson Holdings, LLC defaulted on the purchase agreement by abandonment,
fraud, failure to act diligently and in good faith to obtain the requisite governmental approvals
and failure to pay the outstanding purchase price of $4,126,961.00. The lack of progress by the
buyer in execution of this purchase agreement represents lack of good faith and which mislead
and entrapped us into an agreement that has caused delay after delay. We needed Atkinson
Holdings LLC to perform to be able to sell these assets but since he failed in performance we had
no choice but to file in bankruptcy to protect our assets and find a way to sell the assets to pay
our debt.



All documents referenced above attached as part of responses to document requests.

INTERROGATORY NO. 7: Describe in detail the basis for Your decision to agree to
the March 25, 2019 amendment/addendum to the Purchase Agreement, and identify, all
documents and communications related to said amendment, including without limitation any
demands You made to Claimant.

ANSWER:

See Answer to Interrogatory Number 6.

INTERROGATORY NO. 8: Describe in detail the basis for Your decision to agree to
the October 8, 2019 amendment/addendum to the Purchase Agreement, and identify all
documents and communications related to said amendment/addendum, including without

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limitation any demands You made to Claimant.

ANSWER:

See Answer to Interrogatory Number 6.


INTERROGATORY NO. 9: Describe in detail the basis for Your decision to agree to the May
8, 2020 amendment/addendum to the Purchase Agreement, and identify all documents and all
communications related to said amendment/addendum, including without limitation any
demands You made to Claimant.

ANSWER:

See Answer to Interrogatory Number 6.

INTERROGATORY NO. 10: Describe in detail the basis for Your decision to agree to
the August 3, 2020 amendment/addendum to the Purchase Agreement, and identify all
documents and communications related to said amendment/addendum, including without
limitation any demands You made to Claimant.

ANSWER:

See Answer to Interrogatory Number 6.

INTERROGATORY NO. 11: Describe in detail the basis for Your decision to agree to
negotiate the Restated Purchase Agreement and to cause your attorney to prepare a draft motion
to approve the same, and identify all documents and communications related to the Restatement
Purchase Agreement, including without limitation, the facts, communications and documents
supporting Your allegation in Debtors' Objection that "After the Third Addendum was signed, in
May of 2021, around the time the two Chapter 11's were filed, Atkinson attempted to change the
terms of the deal" and "told the Debtors that the January 31, 2019 deal was off the table, and that
the only deal available to Debtors from Atkinson was the new deal to sell all five parcels for
$8,600,000."

ANSWER:

Objection as to those issues that are covered by Attorney Client Privilege. See Answer to
Interrogatory Number 6.


INTERROGATORY NO. 12: Describe in detail the basis for Your decision to serve
Claimants with the Notice of Cancellation of Purchase Agreement, and identify all facts,
documents and communications related to the Notice of Cancellation of Purchase Agreement,
including without limitation any demands You made to Claimant before serving the Notice of
Cancellation of Purchase Agreement.

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ANSWER:

See Answer to Interrogatory Number 6.

INTERROGATORY NO. 13: Identify the basis for the factual assertion in Debtors'
Objection that Claimant breached the Purchase Agreement, including all documents and
communications that support Your statements in Debtors' Objection that "Debtors hearing many
promises from [Claimant] of 'being close' and 'it will be done by next month"' and "Atkinson
took advantage of Debtors by not acting in good faith when it repeatedly asked for Debtors' to
trust and just a little more time, all without performing the necessary steps that would have
allowed them to close the original deal months (or even years) earlier."

ANSWER:

See Answer to Interrogatory Number 6.


INTERROGATORY NO. 14: Identify all persons, documents and communications
related to Your allegation that Claimant fraudulently requested the earnest money for the
Purchase Agreement in paragraph 36 of Debtors' Notice of Motion and Motion to Approve
Rejection of an Executory Contract filed September 28, 2021, as Docket No. 68 in the
Bankruptcy Case.

ANSWER:

See Answer to Interrogatory Number 6.

INTERROGATORY NO. 15: Describe in detail the basis for Your entering into the
Oppidan Contract and identify all documents and communication related to same, including
without limitation all negotiations between You and Oppidan.

ANSWER:

See Answer to Interrogatory Number 6.


INTERROGATORY NO. 16: Describe in detail the basis for Your decision to agree to
the First Amendment to the Oppidan Contract referenced in Paragraph 5 of Debtors' Notice of
Hearing and Motion for an Order Approving the Sale of Certain Real Estate of the Debtors' Free
and Clear Liens, Claims, Encumbrances and Interests at a Private Sate, filed May 5, 2022, as
Docket No. 175 in the Bankruptcy Case (hereafter "Debtors' Motion to Approve Sale"), and
identify all documents and communications related to said First Amendment, including without
limitation any demands You made to Oppidan.

ANSWER:

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See Answer to Interrogatory Number 6 and motion paperwork supporting the First Amendment.

INTERROGATORY NO. 17: Describe in detail the basis for Your decision to agree to
the Second Amendment to the Oppidan Contract referenced in Paragraph 6 of Debtors' Motion to
Approve Sale, and identify all documents and communications related to said Second
Amendment, including without limitation any demands You made to Oppidan.

ANSWER:

See Answer to Interrogatory Number 6 and motion paperwork supporting the Second
Amendment.


INTERROGATORY NO. 18: Describe in detail the reasons for, and identify all
documents and communications related to, Oppidan's termination of the Oppidan Contract
referenced in paragraph 7 of Debtors' Motion to Approve Sale, including without limitation the
basis for the "City Council" not approving "the request of the Buyer to amend the Medina
Comprehensive Plan to include the 67.l Acres included in the Original Agreement."

ANSWER:

See Answer to Interrogatory Number 6.


INTERROGATORY NO. 19: Describe in detail the basis for Your decision to agree to
the New Oppidan Contract attached to Debtors' Motion to Approve Sale, and identify all
documents and communications related to the New Oppidan Contract, including without
limitation any demands You made to Oppidan.

ANSWER:

See Answer to Interrogatory Number 6 and motion paperwork supporting the New Agreement.

INTERROGATORY NO. 20: Identify and describe the date of You believe Claimant
breached the Purchase Agreement.

ANSWER:

See Answer to Interrogatory Number 6.


INTERROGATORY NO.21: Identify and describe what You believe was the fair market value
of the Property on the date of breach as identified by You in the preceding Interrogatory,
including without limitation identifying all documents and communications supporting Your
valuation.

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ANSWER:

Objection, calls for a legal conclusion, Debtors have no independent knowledge of fair market
value under various conditions as of the time of the multiple breaches of the Atkinson
Agreements.

INTERROGATORY NO. 22: Identify and describe what You believe was the fair market value
of the Property on September 1, 2021, including without limitation identifying all documents and
communications supporting Your valuation.

ANSWER:

See Answer to Interrogatory Number 21.

INTERROGATORY NO. 23: Identify all facts and documents that support your denial of any
request for Admission contained in Claimant Medina 55's Requests for Admissions served
herewith.

ANSWER:

See Answer to Interrogatory Number 6.


INTERROGATORY NO. 24: Identify all documents and communications related to the
Purchase Agreement.

ANSWER:
See Documents produced in response to the Request for Production of Documents.

Signature Page Follows




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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:
                                                            Case No. 21-40882
Jeffrey Cates and Christine Cici-Cates,                     Chapter 11

         Debtors.


  CLAIMANT’S SUPPLEMENTED ANSWERS TO DEBTORS’ INTERROGATORIES
                          (SETS 1 and 2)


TO:      Debtors Jeffrey Cates and Christine Cici-Cates, c/o its attorneys, Kenneth C. Edstrom and
         Sapientia Law Group, 120 South Sixth Street, Suite 100, Minneapolis, MN 55402.

         Claimant Medina 55, LLC, a Minnesota limited liability company (“Claimant”), provides

the following Supplements Answers to Debtors Jeffrey Cates’ and Christine Cici-Cates’

(“Debtors’”) Interrogatories to Claimant dated September 19 and October 11, 2022 (the

“Discovery Requests”):

                      GENERAL OBJECTIONS AND RESERVATIONS

         These general objections are incorporated into every answer to the below Discovery

Requests as though fully set forth therein (the “General Objections”).

         1.     Discovery is ongoing and Claimant’s answers to the Discovery Requests are

based upon its best present knowledge as to the existence, location, and contents of the files that

it maintains.    While Claimant has used its best efforts to identify and locate information

responsive to the Discovery Requests, and bases its answers thereon, Claimant reserves the right

to supplement its answers if and when additional information is located by it.




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       2.      Claimant objects to the Discovery Requests to the extent they seek information

protected by the attorney-client privilege, the work product doctrine, joint defense or common

enterprise privilege, or other applicable privileges, defenses or immunities.

       3.      Claimant objects to the Discovery Requests to the extent they purport to require it

to provide information already in Debtors’ possession, custody, or control, or which is readily

available to Debtor from another more convenient or less expensive source.

       4.      Debtor objects to the Discovery Requests to the extent they seek discovery that is

not proportional to the needs of the case, considering the burden or expense of the proposed

discovery weighed against its likely benefit, the amounts in controversy, the parties’ resources,

the importance of the issues in the case, and the importance of the proposed discovery in

resolving those issues.

       5.      Claimant objects to the Discovery Requests to the extent they are overly broad,

unduly burdensome, or seek information that is neither relevant or likely to lead to the

production of admissible evidence.

       6.      Claimant objects to the Instructions and Definitions in the Requested Discovery to

the extent that they seek to impose duties and obligations upon Claimant that exceed those

imposed by the Federal Rules of Civil Procedure or the Federal Bankruptcy Rules of Civil

Procedure.

       Subject to the above General Objections, including any specific objections asserted

herein (the “Objections”), and without waiving the same, Claimant provides the following

supplemented answers to Debtors’ Discovery Requests, reflected in bold and underlined text, as

follows:




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                 SUPPLEMENTED ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 2: Identify all persons with personal knowledge of any and all facts
underlying any and all claims or defenses in this action, including without limitation any agents
or representatives that You engaged to perform Your due diligence.

SUPPLEMENTED ANSWER: Subject to the Objections, and without waiving same, the

below is supplemented information regarding Jon Yanta:

       Name                      Contact                           Personal Knowledge
Jonathan Yanta         Jon.Yanta@cushwake.com             Broker with Cushman & Wakefield
                       952-820-8734                       with knowledge of development plans,
                                                          marketing of property, potential
                                                          investors/end-users for property,
                                                          amounts in dispute, and expert
                                                          knowledge regarding the value of
                                                          property in 2021



INTERROGATORY NO. 21: Explain in detail any and all “costs already incurred” as
referenced in Paragraph 9 of Your Addendum to Proof of Claim, including without limitation
amounts due under the Purchase Agreement, consulting fees, and attorneys’ fees, specifically
identifying the amount of each individual expenditure, the date it occurred, and the purpose of
the expenditure.

SUPPLEMENTED ANSWER: Claimants object to the extent attorney-client information and

work product is sought related to any attorney invoices. Subject to the Objections, and without

waiving same:

   6. Approximately, $1,500.00, for title commitment from Guaranty Title. Commitment has

       been produced and supporting invoice dated March 10, 2021, to be produced.

   10. Approximately, $3,000.00, for the Broker’s Price Opinion of Value (“BPO”) from

       Cushman & Wakefield and related testimony. BPO to be produced.

INTERROGATORY NO. 24: Explain in detail the basis for Your statement at footnote 4 on
page 3 of Your Addendum to Proof of Claim that the Property “is worth more than” the amount
set forth in the Oppidan agreement.


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SUPPLEMENTED ANSWER: Subject to the Objections, and without waiving same: Claimant

believes the land had a higher fair market value based on its highest and best use in and around

September 1, 2021 (the date of breach), which was the peak time for sellers of land for

commercial/light industrial use, and the BPO provided by Cushman & Wakefield supports

a likely offer and fair market value range of $10,950,000.00 to 12,005,000.00 for both

parcels (with a range of $4,925,000.00 to $5,580,000.00 for 2575 Cates Ranch Dr., and a

range of $6,025,000.00 to $6,425,000.00 for 2590 Cates Ranch Dr.). Claimants continue to

investigate the same. Claimant will supplement its response herein and produce non-privileged

supporting documents, if any, as required under the applicable rules following such

investigation. Discovery is ongoing.



AS TO OBJECTIONS:

Dated: December 7, 2022
                                            RAVICH MEYER KIRKMAN McGRATH
                                            NAUMAN & TANSEY,
                                            A Professional Association

                                            By:    /s/ Ted C. Wagor
                                                   Will R. Tansey (#323056)
                                                   Ted C. Wagor (#0396347)
                                            150 South Fifth Street, Suite 3450
                                            Minneapolis, Minnesota 55402
                                            Telephone: (612) 332-8511
                                            wrtansey@ravichmeyer.com
                                            tcwagor@ravichmeyer.com

                                            ATTORNEYS FOR CLAIMANT




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AS TO ANSWERS:


I, Robert Atkinson, as Manager of Medina 55, LLC, declare as follows: I have read the foregoing
supplemented interrogatory answers and I am familiar with their contents. Based on my review
of all of my files, emails, books and records maintained on behalf of Medina 55, LLC, and its
predecessors-in-interest of which I am also associated with, I affirm that these interrogatory
answers are true and correct to my knowledge. I declare under penalty of perjury under the laws
of the United States of America that everything I have stated in this document is true and correct.



Executed: December 7, 2022.

Hennepin County, Minnesota



                                              Robert Atkinson




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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:
                                                            Case No. 21-40882
Jeffrey Cates and Christine Cici-Cates,                     Chapter 11

         Debtors.


              CLAIMANT’S SECOND SUPPLEMENTED ANSWERS TO DEBTORS’
                          INTERROGATORIES (SETS 1 and 2)


TO:      Debtors Jeffrey Cates and Christine Cici-Cates, c/o its attorneys, Kenneth C. Edstrom and
         Sapientia Law Group, 120 South Sixth Street, Suite 100, Minneapolis, MN 55402.

         Claimant Medina 55, LLC, a Minnesota limited liability company (“Claimant”), provides

the following Second Supplementation of its Answers to Debtors Jeffrey Cates’ and Christine

Cici-Cates’ (“Debtors’”) Interrogatories to Claimant dated September 19 and October 11, 2022

(the “Discovery Requests”):

                      GENERAL OBJECTIONS AND RESERVATIONS

         These general objections are incorporated into every answer to the below Discovery

Requests as though fully set forth therein (the “General Objections”).

         1.      Claimant’s answers to the Discovery Requests are based upon its best present

knowledge as to the existence, location, and contents of the files that it maintains. While

Claimant has used its best efforts to identify and locate information responsive to the Discovery

Requests, and bases its answers thereon, Claimant reserves the right to supplement its answers if

and when additional information is located by it.




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       2.      Claimant objects to the Discovery Requests to the extent they seek information

protected by the attorney-client privilege, the work product doctrine, joint defense or common

enterprise privilege, or other applicable privileges, defenses or immunities.

       3.      Claimant objects to the Discovery Requests to the extent they purport to require it

to provide information already in Debtors’ possession, custody, or control, or which is readily

available to Debtor from another more convenient or less expensive source.

       4.      Debtor objects to the Discovery Requests to the extent they seek discovery that is

not proportional to the needs of the case, considering the burden or expense of the proposed

discovery weighed against its likely benefit, the amounts in controversy, the parties’ resources,

the importance of the issues in the case, and the importance of the proposed discovery in

resolving those issues.

       5.      Claimant objects to the Discovery Requests to the extent they are overly broad,

unduly burdensome, or seek information that is neither relevant or likely to lead to the

production of admissible evidence.

       6.      Claimant objects to the Instructions and Definitions in the Requested Discovery to

the extent that they seek to impose duties and obligations upon Claimant that exceed those

imposed by the Federal Rules of Civil Procedure or the Federal Bankruptcy Rules of Civil

Procedure.

       Subject to the above General Objections, including any specific objections asserted

herein (the “Objections”), and without waiving the same, Claimant provides the following

supplemented answers to Debtors’ Discovery Requests, reflected in bold and underlined text, as

follows:




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                SUPPLEMENTED ANSWERS TO INTERROGATORIES


INTERROGATORY NO. 18: Identify the relationship between You and Bigos Management,
Inc.

SUPPLEMENTED ANSWER: None. Bigos Management, Inc. is the property management

company owned by Ted Bigos, and has no relationship to Claimant other than by way of its

association with Ted Bigos. As stated in Claimant’s Answer to Interrogatory No. 2, Ted

Bigos is the Chief Manager of Bigos-Bren Road, LLC, a Member of Claimant. Claimant,

however, has no direct relationship with Bigos Management, Inc.


INTERROGATORY NO. 21: Explain in detail any and all “costs already incurred” as
referenced in Paragraph 9 of Your Addendum to Proof of Claim, including without limitation
amounts due under the Purchase Agreement, consulting fees, and attorneys’ fees, specifically
identifying the amount of each individual expenditure, the date it occurred, and the purpose of
the expenditure.

SUPPLEMENTED ANSWER: Claimants object to the extent attorney-client information and

work product is sought related to any attorney invoices. Subject to the Objections, and without

waiving same:

   2. Approximately, $165,078.44 for contractually owed broker commissions to

       ReCreate Real Estate, LLC, and/or Rose Lorsung, its principal, for the sale of the

       30.18 acre parcel (4% commissions at initial contract price), and another

       $201,944.86 in commissions on the sale of the 36.92 acre parcel, for a total of

       approximately     $367,023.30    in   broker   commissions.     In   the   Alternative,

       approximately $243,250.00, for Consulting fees owed to Rose Lorsung/Pulse Land

       Group, Inc., incurred for services rendered from February 26, 2019, through October 20,

       2021. Invoice and contracts have been produced.



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AS TO OBJECTIONS:

Dated: January 16, 2023
                                       RAVICH MEYER KIRKMAN McGRATH
                                       NAUMAN & TANSEY,
                                       A Professional Association

                                       By:    /s/ Ted C. Wagor
                                              Will R. Tansey (#323056)
                                              Ted C. Wagor (#0396347)
                                       150 South Fifth Street, Suite 3450
                                       Minneapolis, Minnesota 55402
                                       Telephone: (612) 332-8511
                                       wrtansey@ravichmeyer.com
                                       tcwagor@ravichmeyer.com

                                       ATTORNEYS FOR CLAIMANT




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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:
                                                            Case No. 21-40882
Jeffrey Cates and Christine Cici-Cates,                     Chapter 11

         Debtors.


                            DISCLOSURE OF EXPERT WITNESS

TO:      Debtors Jeffrey Cates and Christine Cici-Cates, c/o its attorneys, Kenneth C. Edstrom and
         Sapientia Law Group, 120 South Sixth Street, Suite 100, Minneapolis, MN 55402.

         Claimant Medina 55, LLC, a Minnesota limited liability company (“Claimant”), hereby
discloses that it may call Jon Yanta, SIOR, CCIM, a commercial real estate broker with
Cushman & Wakefield, at the evidentiary hearing in this matter to provide expert testimony in
addition to lay testimony related to his personal knowledge of relevant matters. Mr. Yanta has
already been identified as a potential witness in this matter. The subject matter of Mr. Yanta’s
expected expert testimony is the fair market value of the Debtors’ property in and around
September 1, 2021, which will based on the facts and opinions summarized in his Broker
Opinion of Value, to be provided to Debtors’ contemporaneously herewith. Claimants reserve
the right to disclose amendments or supplements to the Broker Opinion of Value and disclose
additional experts in this matter.

Dated: December 9, 2022
                                              RAVICH MEYER KIRKMAN McGRATH
                                              NAUMAN & TANSEY,
                                              A Professional Association

                                              By:    /s/ Ted C. Wagor
                                                     Will R. Tansey (#323056)
                                                     Ted C. Wagor (#0396347)
                                              150 South Fifth Street, Suite 3450
                                              Minneapolis, Minnesota 55402
                                              Telephone: (612) 332-8511
                                              wrtansey@ravichmeyer.com
                                              tcwagor@ravichmeyer.com
                                              ATTORNEYS FOR CLAIMANT



{00593349 }
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                                      IJxT'rgn Sr¿rPS BANKRUPTCY COUR'I
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ln re                                                                                     Cìase   No.     21-40882
                                    Debtor
                                                                                          Chapter i I (SubchapterV)




           SI"]BPOITNA TO PIIODTJCB DOCUMIIN'I'S,IN}IORMA'I'ION, OR OI}JECTS OII'I'O PEIìMT'T
          INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To. Oppiclan Holdinss, t,l,C. a Minnesota limited liability                   oom     r," 400 Water Street Suite 200" Excelsior.                     MN 55331
                                                             (Narne o.f'person lo v,hom tlte subpoena is directed)


  ffi   Proúrction: YOIJ ARE COMMANDBT) to produce at the time,                                 forth below the follorving
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  clocuments, electronically storecl information. or ob.iects" antJ to permit inspection, copying, testing, or sampling of the
  material:       SEB ATTACHBD AXHIBTT A

  PLACìE: Ravich Meyer Kirknran McGrath Naurnan                          &   Tanse¡,, P.A.                            DATE AND TIME
               150 South    FifIh Street, Suite 3450. Minneapolis, MN 55402                                             October 17, 2022, I :00 ¡r.m.

       Ins¡teclion of'Premises: yOU ARE COMMANDED to perrnit entry onto the clesignatecl prenrises, lancl, or
  ]
  otlier propeúy possessed or controlled by you at the time, clate, and location set ttrrth belolv, so that the requesting patÞ*
  rnay inspect. lneasure, survey, photograph. test, or sample the property or any designated object or operation on il.
  PI,ACE                                                                                                              DA'|L] AND ]'IME




          'l'he f'ollowing provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person sub.ject to a
  subpoena: arid Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential conseqlrerìces of not
  cloiug so.

  Date : Se¡rtember      28,2022
                                    CLERK OF COURT

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                                    Sig.nahu'e oJ'Clerk c¡r Depuû; Clerk                                      A    ne"v-',s   ,signafire

  The nanie, adclress, email adclress, aud telephor-re nurnbet'of the attorttey
  Medina 55, l,l-C (Claimant)            , who issues or requests lhis subpoena. are:
  Will R. Tansey, 150 S. sth St., Minneaperliso MN 554112,6L2-317-17600 wrtansey(a) ravichmeyer.c0m
                                    Notice to the person who issues or requests this subpoena
  If this subp<)ena colnmands the procluction of clocurr'¡ents, electronically stored infr¡rnlation. or tangible tltings, cx the
  inspection of prernises before trial, a notice ancl a copy of this subpoena nrust be served on each party befbre it is served on
  the person to rvhon it is directed. Ied. R. Civ. P. as(aXa).
                Case 21-40882
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                                                                          PROOF OF SERVICE
                             (Tlris section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoen a f<>r (nanrc of individual and title, if any)
t>n (clule)



I    I servec{ the subpoena by delivering a copy to the named person as fbllows


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fl   I retulnecl the subpoena unexecuted because:



lJllless the subpoena was issuecl cln behalf of the United States, ol'one of its ofTìcers or ¿ìgents, I have also fendered to the
r¡,ilness the fèes lbr one day's attendance, arld the rnileage allowed by law, in 1he amount of $

    My   f'ees are S                      ftlr travel and       $                f'or services, fbr a total of $



             I declare under penalty of per.iury that this inf'omation is true ancl correct,

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                                 Federal Rule of Civil Procedure 45(c), (d), (e)' and (g) (Effective                                                    l2llll3)
                             (rnade applicable in bankruptcy cases try Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) l)lace of compliance.                                                                                 (ii) disclosirrg ali unretainetl expert's opiniorr or inlòrrrration thaf does
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hcaring. or tlial.                                                                                  orcler', the person lesponding urust shor,v that the inlbmration is not
      (lì.1 Objectiotts. A pet'son commanded to produce documents or tangible
                                                                                                    reasonably accessible beca¡:se of undue burtlcn or cost. Ifthat shou'ing is
thirrgs or to pcnnit inspeotion may serve on the party orattonloy dcsignatecl
                                                                                                    macle, the court may nonetheless order discovery lronr such soulces ilthe
in thc subpocnil a rvritten objection to inspcctirrg, copying, testing or
                                                                                                    lequesting party shows good cause, considering the Iirnitations ol'lìLrlc
sampling any or all ol-the nlaterials or to inspecting the premises           or to
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ploclucìng elcctronically storecl inlbrmation in the lbrm or lìrnns lequestcd.
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'l'hc objection rnust be scrved before the e¿uliel ol'the time speciiìed flor'
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onlcl ctlrrrpcl l ing pt otlLtcl ion ol i rrspcction.                                                       (ii) describe the natLrre olthe withhelcl docurnents. co¡unutticat.iolls.
          (ii) l'hese acts nray be requiled only as directed in the order. and the                  or tangible things in a rranncr that" r¡,ithout lcvcaling inlbrlilation itself
ortler rnLrst protccl a pcrson ivho is neither a party nor a pat'ty's ofÏìcel lì'onl                privileged or protùcted, rvill enable the parties to assess thc claiili.
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cornplianee is required must quash or moditi a subpoena that:
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      (i) firils to allow a leasonable time to comply;
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      (ii) r'equiles iì person to comply beyond the geographical lirnits
                                                                                                    until the clainr is resolr,ecl; nrust take leasonable steps to retrieve the
specilied in llule ¿15(c):
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      liii) rcquires disclosule ofplivileged or other protected matter, ifnct                       pronrptly present the iulbnnation under seal to the court for the distriot
exception or rvaiver applies; or                                                                    whelc cornpliance is required t'or a dctermination of the claim. Thc persort
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                                                                                                     the subpoena or       ¿in   order relate.l to it.


                                                For access to subpoena rnateri¿rls. see    F'ed.   Iì. Civ.   P. 45(a) Cornnrittee Note (2013)
 Case 21-40882        Doc 292     Filed 03/06/23 Entered 03/06/23 16:10:00            Desc Main
                                  Document      Page 53 of 77



                                        EXHIBIT A
                               TO SUBPOENA DUCES TECUM
                                  (Oppidan Holdings, LLC)



                                            Definitions

         For purposes of this Subpoena Duces Tecum, the following definitions shall apply:

        1.     “Documents” means any written, printed, typed, or other graphic matter of any
kind or nature, including drafts and copies bearing any marks (such as initials, comments,
notations, notes, or stamped indices) not found on the original, and includes, without limitation,
all emails, text messages, memoranda, reports, notes, transcripts, letters, envelopes, bids,
contracts, invoices, messages, interoffice memoranda, work papers, photographs, pictures,
diaries, desk calendars, appointment books, drafts, minutes or transcriptions of meetings, and
other communications of every type. All attachments or enclosures to a document are deemed to
be part of such document.

       2.     “Communication” or “Communications”, including any verb form of either word
(communicated, communicates, etc.), means all methods and means of conveying or transferring
information, whether received or transmitted by You, or otherwise came into Your possession,
including without any telephone conversations, letters, text messages, electronic mail, other
computer linkups, written memoranda, and face-to-face conversations.

        3.      “related to” or “relating to” means regarding, referring to, mentioning, discussing,
reflecting, containing, stating, describing, embodying, evidencing, constituting, dealing with, or
making reference to or relating to in any way.

       4.     “affiliate(s)” means any persons (as defined below) that directly or indirectly
through one or more intermediaries, control, are controlled by, or under common control or
ownership with You, where control is either management authority, contract, or equity interest.

        5.     “person(s)” means individuals and entities including, without limitation, sole
proprietorships, firms, associations, companies, partnerships, joint ventures, corporations, trusts,
estates and any other legal, business or governmental entity.

         6.    “You” or “Your” shall mean Oppidan Holdings, LLC, a Minnesota limited
liability company, or any officer, employee, agent, representative, person or entity acting on its
behalf, including without limitation David Scott, General Counsel and Executive Vice President
of Oppidan Holdings, and any subsidiaries and/or affiliates having possession or control over any
Documents or Communications responsive to this subpoena.

        7.     “Bankruptcy Case” means the Chapter 11 proceedings of the Jeffrey Cates and
Christine Cici-Cates commenced on May 17, 2021, in the United States Bankruptcy Court for the
District of Minnesota.



{00588841 }
 Case 21-40882       Doc 292     Filed 03/06/23 Entered 03/06/23 16:10:00          Desc Main
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       8.       “Debtors” means Jeffrey Cates and Christine Cici-Cates, including any agent,
representative, or other person(s) acting or purporting to act on their behalf.

        9.     “Claimant” means Medina 55, LLC, a Minnesota limited liability company (also
referred to herein as “Medina 55”), including any owner, agent, employee, representative, or
other person(s) acting or purporting to act on its behalf, and its predecessor-in-interest to the
Purchase Agreement (defined herein) Atkinson Holdings, LLC a Minnesota limited liability
company, and Robert C. Atkinson.

       10.    “Claim” means Claimant’s Proof of Claim 20, filed October 25, 2021, in the
Bankruptcy Case, a true and correct copy of which is attached as Exhibit G to Debtor’s
Objection and Motion to Approve Rejection of Medina 55’s Claim, filed August 15, 2022, as
Docket No. 196 in the Bankruptcy Case.

       11.   “Claimant’s Purchase Agreement” means that certain Purchase Agreement dated
January 31, 2019, by and between Debtors and Claimant, together with all subsequent
addendums, amendments, and restatements thereto, proposed or executed.

       12.     “Oppidan Contract” means that certain Purchase Agreement dated September 1,
2021, by and between Oppidan and Debtors, a copy of which is attached as Exhibit B to Docket
No. 82, filed October 15, 2021, in the Bankruptcy Case, including all subsequent addendums and
amendments thereto.

       13.    “David Scott Declaration” means that certain Declaration of David Scott, General
Counsel and Executive Vice President of Oppidan Holdings, LLC, filed with Debtors’ Reply
Memorandum in Opposition to Objection to Motion to Sell Property Free and Clear on October
7, 2021, as Docket No. 73 in the Bankruptcy Case.

       14.    “Property” means, the Property identified in the Oppidan Contract, known as
2575 Cates Ranch Road (PID: 04-118-23-14-0004) and 2590 Cates Ranch Road (PID: 04-118-
23-11-0002), in the City of Medina, County of Hennepin, Minnesota.

       15.    All other terms, capitalized or not, shall be interpreted in accordance with the
meaning that such term is given in the Claim, or if such terms are not found therein, in
accordance with the common, dictionary definition of such term(s) as they relate to this matter.

                                  Documents to be Produced

        1.      All Documents and Communications in Your possession or under Your control
relating to Claimant’s Purchase Agreement.

        2.      All Documents and Communications in Your possession or under Your control
relating to Claimant’s Claim.




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        3.     All Documents and Communications in Your possession or under Your control
relating to Your negotiations with Debtors regarding the Property on or before September 1,
2021 (the stated date of the Oppidan Contract).

        4.     All Documents and Communications in Your possession or under Your control
relating to Your valuation of the Property on or before September 1, 2022, including without
limitation any appraisals, broker price opinions, or internal calculations (e.g., sale or project
comparisons, rent models, pricing models, return on investment models, etc.).

        5.     All Documents and Communications in Your possession or under Your control
relating to Your valuation of the Property at any time after September 1, 2022, including without
limitation any appraisals, broker price opinions, or internal calculations (e.g., sale or project
comparisons, rent models, pricing models, return on investment models, etc.).

        6.     All Documents and Communications in Your possession or under Your control
relating to Your “capital partner’s” interest in and commitment to purchase the Property as
referenced in the David Scott Declaration.




Dated: September 28, 2022
                                            RAVICH MEYER KIRKMAN McGRATH
                                            NAUMAN & TANSEY,
                                            A Professional Association

                                            By:    /e/ Will R. Tansey
                                                   Will R. Tansey (#323056)
                                                   Ted C. Wagor (#0396347)
                                            150 South Fifth Street, Suite 3450
                                            Minneapolis, Minnesota 55402
                                            Telephone: (612) 332-8511
                                            wrtansey@ravichmeyer.com
                                            tcwagor@ravichmeyer.com

                                            ATTORNEYS FOR CLAIMANT




                                               3
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                                                          DocumentEXHIBIT
                                                                        PageF56 of 77
Ted Wagor

From:                                            Ted Wagor
Sent:                                            Friday, February 24,2023 3:38 PM
To:                                              Ken Edstrom; Kristin Neff;Will R. Tansey;Alex Beeby
Subject:                                         RE: 21-40882 Cates




Hello All,

The "March 22,2023                 -   March 23,2023" dates work best for Claimant and its witnesses.

Thanks,
TEp C. WAGOR, ESQ
o: 6 1 2.317 .47 42
M:612.875.3657

RAVICH MEYER
RAVICH MEYER KIRKMAN MCGRATH NAUMAN &TANSEY, P.A
'1
     50 SourH Frrtr¡ SrnrEr, SurrE 3450
MINNEApOLìS,    MN 55402
WWW.RAVICHMEYER.COM


From: Ken Edstrom <kene@sapientialaw.com>
Sent: Wednesday, February 22,2023 11:29 AM
To: Kristin Neff <kristin_neff@mnb.uscourts.gov>; Will R, Tansey <wrtansey@ravichmeyer.com>; Alex Beeby
<alexb@sapientia law.com>; Ted Wagor <tcwagor@ravichmeyer.com>
Subject: RE: 21-40882 Cates

I know that one of our witnesses is not available during the last week of March but either of the earlier dates would
work during the week of March 20.

Kenneth C. Edstrom*
Attorney

*Admitted in Minnesota and Arizona
 Board Certified in Business Bankruptcy by the ABC since 2000


SÂP         IE     NTIÅ
                   :,' ::     ì'

Kenneth C. Edstrom
120 South Sixth Street, Suite 100 | Minneapolis, MN 55402
Office: 6t2.756.7t08
Cell: 612.759.3631
l:.612.756.7101
kene@sa pientialaw.com
My pronouns are he, him and his
www.sapiêntialaw.com

@ffie
NAM"'lCLl"
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Tl"ìe information cr:ntained in th¡s communication from lhe sender is confìdentiô1.                 It is intenrjecl solcly for use by the   reÇipìcnt,3nrJ

t;rkirrg actíon in relatit¡n of the contents of this infornration is slrictly firohìb¡ted ancl nray fie unl¿lwlul.

Thi$ cmðil hns been scanned for viruses and rnalware, and may have been ðulonr,ìticnlly nrchivecf by Mimecast Ltd, an inrìovalor in
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Security, ärchlvin<J and compliarrçe. Tr: find out more Click Hei:e.



From: Kristin Neff <kristin neff@mnb_,usçoV"rts.gov>
Sent: Wednesday, February 22,2023 10:58 AM
To: Ken Edstrom <kene@sapientialaW.çgn'ì>; wrtan"ggy@ravichmeyer.com; Alex Beeby <alexb"@sapientiplaW.com>; Ted
Wa gor <tc\¡¡êgo r@ ßyiçh meye r.çom >
Subject: 21-40882 Cates

Good morning-

The following are dates that the Judge is available for the evidentiary hearing being rescheduled in the above referenced
matter.

March 22,2023 - March 23,2023
March 23,2023 - March 24,2023
March 27,2023 continu¡ng until March 29,2023 if necessary

Please let me know as soon as possible which dates work best for you all'

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           Case 21-40882       Doc 292        Filed 03/06/23 Entered 03/06/23 16:10:00              Desc Main
                                              Document      Page 58 of 77
Ted Wagor

From:                              Ted Wagor
Sent:                              Friday, March 3,202310:37 AM
To:                                Ted Wagor
Subject:                           RE:   Witnesses unavailable




From: Will R. Tansey <wrtansey@ravichmeyer.com>
Sent: Wednesday, March t,2023 9:54 AM
To: Ted Wagor <tcwagor@ravichmeyer.com>
Subject: RE: Witnesses unavailable

Ken,to be clear, we are unavailable because discovery is closed and you are not entitled to further discovery. lf you get
authority to do further discovery and are entitled to rely on a trial deposition under the rules, we will work with you on a
date.

WillTansey
(672) 317-4760




From: Will R. Ta nsey <wrta nsev@ ravichmever.com>
Sent: Tuesday, February 28,2023,3:44 PM
To: Ken Edstrom <kene@sapientialaw.com>;Ted Wagor <tcwagor@ravichmever,com>
Cc: Alex Beeby <alexb@sapientialaw.com>
Subject: RE: Witnesses unavailable

We don't agree to attend any trial deposition or that they will be available for evidence. We are not available those days
You told us and the court those March days worked and you never disclosed Oppidan witnesses as potential during
discovery. You refused to accommodate our request and now make a later and more problematíc request. You knew
Bigos wasn't here from the beginning,

WillTansey
(61.2) 317-4760


From: Ken Edstrom <kene@sapientialaw.com>
Sent: Tuesday, February 28,2023 3:35 PM
To: Ted Wagor <tcwagor@ravichmever.com>
Cc: Alex Beeby <alexb@sapientialaw.com>; Will      R.   Tansey <wrtansev@ravichmever.com>
Subject: RE: Witnesses unavailable

Ted and Will

I appreciatethe heads up, but no, we won't agree to any of your conditions. ln our opinion your motion sounds
desperate, will be viewed by the court that way and won't be granted but that of course ¡s up to you. We'll respond to
the motion of course but in the meantime, l'm going to schedule the trial deposition of one of the Oppidan witnesses for
the week of March 6. Let me know if there are dates/times that you are not avaílable.


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            Case 21-40882           Doc 292        Filed 03/06/23 Entered 03/06/23 16:10:00                         Desc Main
                                                   Document      Page 59 of 77
Kenneth C. Edstrom*
Attorney

*Admitted in Minnesota and Arizona
 Board Certified in Business Bankruptcy by the ABC since 2000


S/\FIENTIÂ
Kenneth C. Edstrom
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Cell: 612.759.3631
f:6t2.756.7101
kene@sapientia law.com
My pronouns are he, him and his
www.saoientialaw.com

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From: Ted Wagor <tcwagor@ravichmever.çom>
Sent: Tuesday, February 28,2023 2:58 PM
To: Ken Edstrom <kene@sapientialaw.com>
Cc: Alex Beeby <alexb@sapientialaw.com>; Will            R. Tansey   <wrtansev@ravichmeyer.com>
Subject: RE: Witnesses unavailable

Hello Ken,

Medina 55 was planning on filing an expedited motion in limine later this week to exclude the Oppidan witnesses for a
number of reasons. Mainly, their testimony is not relevant to any facts in dispute. Their only potentially relevant
testimony as to a fact in dispute is the valuation of the Property, but (1)their 9.1.2L Purchase Agreement speaks for
itself in that regard, (2) the Court already made a finding and determination as a matter of law that the fair market value
of the Property, as of L1-.9.2L, was the 9.1.2L Oppidan Purchase Agreement amount (Dkt, No. 103); (3) in their verified
motion dated 9.8.2, Debtors testified that the FMV of the Property was the same as the 9.1,21 Oppidan Purchase
Agreement Amount, and are therefore subject to judicial estoppel; and (a) Debtors never gave us notice that they
intended to call anyone from Oppidan, as their interrogatory answers were never supplemented in that regard and
Oppidan failed to provide a good faith response to our subpoena. Their testimony is irrelevant, subject to judicial
estoppel, prejudicial, a waste of judicial resources and would only serve to confuse the issues in dispute.

That said, however, we'd be willing to work with the Debtors, and forego our motion in limine (but not the objections),
either by agreeing to trial depositions or allowing the Oppidan witness to appear by Zoom, lF Debtors agree to allow Mr
Atkinson's deposition to be used for trial or allow him to appear by zoom, We think this is fair given the circumstances.
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                                                          Document      Page 60 of 77
Please let us know if you guys are willing to agree to these mutual accommodations as soon as possible, as we'll both
have to file motions in short order if not.

Thanks,
TEo C. WncoR, EsQ
o: 61 2.3 17 .47 42
M',.612.875.3657

RAVICH MEYER
RAVICH MEYER KIRKMAN MCGRATH NAUMAN &TANSEY, P.A
150 SoUTH FIFrH STREET, SUITE 3450
MINNEAPoLIS,                      MN 55402
WWW.RAVICHMEYER,COM


From: Ken Edstrom <kene@sapientialaw.com>
Sent: Monday, February 27,2023 L:48 PM
To: Ted Wagor <tcwagor@ravichmever,com>; Will                       R. Tansey      <wrtansev@ravichmever.com>
Cc: Alex Beeby <alexb@sapientialaw,com>
Subject: Witnesses unavailable

Both of our Oppidan witnesses are unavailable on the 22nd and the 23'd, I propose that we set a trialdeposition
sometime in the next couple of weeks for Dave Scott, let me know if you agree with this procedure, thanks.

KCE


Kenneth C. Edstrom*
Attorney

*Admitted in Minnesota and Arizona
 Board Certified in Business Bankruptcy by the ABC since 2000


S/\FlENTlÅ                             :f

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kene@sa pientia law.com
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Jeff


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As we discussed,


Best regards,

 Rv¡rx R. DREYER
 TEL: {952) 277'0116
  rdrever@ rnorrisonsund'com




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                                         Name: RYan R. DreYer' Esq.
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                                          Address:
                                          Morrison Sund PLLC
                                          5125 Coun$ Road 101' Suite 200,
                                          Minnetonka, MN 55345
                                          rdreyer@morrison gund.com


                                          Telephone Number: 952'975'0050




                             BY:
 THIS TNSTRUMENT WAS DRAFTEÐ
    MORRISON SUND PLLC
    5125 CountY Road 101, Suite 200,
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Page 3 ol 3




                                            AFFIDAVIT OF SERVICE AND CANCELLATION


State of Minnesota, County of Hennepin


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Ryan R. Dreyer, Esq', being duly sworn on oath

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I am the person named above as ttre
                                    party serving the Notiæ, or the attorney authorized by
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                                                                                 Ryan R. DreYer, Esq.




                                                *,2021by       Ryan R. Dreyer, Esq,, attOrney for sellers'
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:
                                                             Bankruptcy Case No. 21-40882
Jeffrey Cates and Christine Cici-Cates,                      Chapter 11

         Debtors.


                                    MEMORANDUM OF LAW


         Media 55, LLC (“Media 55”), hereby submits its Memorandum of Law in support of its

Motion for an Expedited Hearing to Exclude Witnesses and Evidence, filed herewith (the

“Motion”).

                                    FACTUAL BACKGROUND

         The factual basis is as set forth in the Motion and incorporated herein. Capitalized terms

not otherwise defined herein are used in accordance with the meaning ascribed to them in the

Motion, and references to Exhibits herein are those attached to the Motion.

                                      LEGAL ARGUMENT

    I.        Standard of Review.

         “Motions in limine operate to narrow the evidentiary issues for trial, eliminate

unnecessary trial interruptions, and minimize error that might prejudice the substantial rights of

a litigant.” Federal Trial Handbook: Civil, The motion in limine § 7:4 (West, 2022-2023 Ed.)

(collecting cases). A court’s decision on a motion to limine will only be overturned for abuse

of discretion. See Camp v. Carmike Cinemas, 126 F. App'x 334, 335 (8th Cir. 2005) (citations

omitted).

         The basis for such motions is founded upon the Federal Rules of Evidence and the



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discovery rules in the Federal Rules of Civil Procedure. See e.g., Littleton v. Pilot Travel

Centers, LLC, 568 F.3d 641, 648 (8th Cir. 2009) (exclude witnesses on relevancy grounds);

Camp, 126 App’z at 335 (upholding exclusion of witness on relevancy grounds and failure to

disclose witnesses in discovery); accord Watkins Inc. v. McCormick & Co., Inc., No. 15-CV-

2688 (DSD/ECW), 2023 WL 1777474 (D. Minn. Feb. 6, 2023) (applying Rule 37(c)(1) to

exclude witnesses for failure to disclose them in discovery); In re RFC & ResCap Liquidating

Tr. Action, No. 13-CV-3451 (SRN/HB), 2018 WL 4863597, at *9-10 (D. Minn. Oct. 8, 2018)

(excluding evidence under Fed. R. Evid. 401 and 403). These rules and the ability to exclude

evidence through motions in limine apply to bankruptcy proceedings as incorporated through

Fed. R. Bankr. P. 9014 and 9017.

          In this case, the exclusion of the Oppidan witnesses listed on Debtors Witness List, [Dkt.

No. 284], is warranted because Debtors failed to disclose those witnesses in its discovery

responses, prejudicing Medina 55’s discovery rights and ability to prepare for the evidentiary

hearing. This is especially true for any purported expert testimony to be provided by the

Oppidan witnesses regarding the valuations of the Debtors’ properties, which should also be

excluded on grounds of judicial estoppel. Lastly, the witnesses should be excluded because the

majority of their anticipated testimony, other than their potential expert testimony, is irrelevant

to the facts in dispute.

    II.       The Oppidan Witnesses should be Excluded Pursuant to Fed. R. Civ. P.
              37(c)(1), Because Debtors Failed to Disclose Those Witnesses in Discovery,
              Prejudicing Medina 55.

          Under Fed. R. Civ. P. 26(e), the parties have a continuing duty to supplement their

discovery responses. If a party fails to supplement its discovery responses to identify potential

witnesses in violation of this Rule, Fed. R. Civ. P. 37(c)(1) states that the violating party “is not


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allowed to use that information or witness to supply evidence on a motion, at a hearing, or at a

trial, unless the failure was substantially justified or is harmless,” and may be subject to

additional sanctions. Id.

       “Because Rule 37(c) sanctions are mandatory, the rule contains exceptions for

‘substantially justified’ or ‘harmless’ violations to avoid unduly harsh penalties that may result

from an inflexible application of the Rule.” Watkins, WL 1777474, at *2 (D. Minn. Feb. 6,

2023) (quotation omitted). For this reason, courts consider four factors to determine whether a

Rule 26 violation was “substantially justified” or “harmless”: “(1) the importance of the

excluded material or witness; (2) the explanation of the party for its failure to comply with the

required disclosure; (3) the potential prejudice that would arise from allowing the material to be

used; and (4) the availability of a continuance to cure such prejudice.” Id. (cleaned up). All of

these factors weigh in favor of excluding the Oppidan Witnesses.

       As to factors (1) and (3) above, the Oppidan witnesses’ anticipated expert testimony

regarding the valuation of the properties goes to the heart of Medina 55’s damages claim, and

would be highly prejudicial to Medina 55 if allowed. Indeed, Debtors never identified the

Oppidan witnesses in their discovery responses, and although Medina 55 subpoenaed Oppidan

for documents supporting its valuation of the properties, Oppidan’s production did not include

any valuation documents, e.g., no appraisals, no sales comparison data, no price per square foot,

etc. Because Oppidan did not provide any documents that could be used to support a fair market

valuation of the properties, and because Debtors gave no indication that it would call Oppidan

as a witness, Medina 55 elected not to pursue further discovery from Oppidan and obtained its

own valuation for the properties. (See Exhibit D) (expert disclosure notice and Broker Opinion

of Value). Discovery is now closed, however, prejudicing Medina 55’s ability to investigate


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and examine the veracity of the Oppidan witnesses’ knowledge and anticipated testimony.

       The inability to adequately conduct discovery of the Oppidan witnesses seriously

prejudices Medina 55. The fact that Medina 55 knew of and subpoenaed Oppidan is not of

consequence for Rule 37 purposes. See Troknya v. Cleveland Chiropractic Clinic, 280 F.3d

1200, 1205 (8th Cir.2002) (affirming trial court’s exclusion of defendant's witnesses because

they were not disclosed as potential witnesses, even though the names of witnesses were

referenced somewhere during discovery process). Had Medina 55 been aware that the Oppidan

witnesses would be used to provide expert testimony as to the valuation of the properties,

Medina 55 would have brought a motion to compel to obtain the supporting documents from

Oppidan and likely deposed their witnesses. Presently, Medina 55 has no idea what these

witnesses will testify to in regard to valuations, especially when they agreed to a contract price

of $10,230,00, which Debtors previously testified, and the Court found as a matter of law, was

the fair market value for the properties. [Dkt. Nos. 46 and 103]. Medina 55 should not be left

in a position of surprise. For all these reasons, factor (1) and (3) heavily weigh in support of

excluding the Oppidan witnesses.

       With respect to factors (2) and (4), Oppidan has provided no explanation for failing to

disclose the Oppidan witnesses in discovery, and a continuance would not remove the harm to

Medina 55 as discovery is closed. This case is ready for the evidentiary hearing, and continuing

the matter further to allow Medina 55 to conduct additional discovery would cause additional

costs and delay, further prejudicing Medina 55. See, e.g., Watkins Inc. v. McCormick & Co.,

Inc., No. 15-CV-2688 (DSD/ECW), 2023 WL 1777474, at *7 (D. Minn. Feb. 6, 2023) (“The

Court cannot justify reopening discovery at this point to address Plaintiff's unjustified failure to

disclose Karau when doing so would require Defendant to incur additional costs and likely


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require a continuance of the trial.”).

       Additionally, due to the recent unavailability of the Oppidan witnesses, [See Dkt. No.

209], they will be separately testifying after the evidentiary hearing at a date not yet determined,

which, if allowed, will further prejudice Medina 55. Beyond the added costs and delay, the time

in between the evidentiary hearing and when the Oppidan witnesses will be called to testify,

gives Debtors the significant advantage of being able to thoroughly digest and analyze the

testimony and evidence presented at the hearing, and use that to prepare the Oppidan witnesses

prior to their testimony. This affords Debtors the ability to come up with additional rebuttal

arguments to attempt to poke holes in any prior testimony, which they otherwise would not have

had the ability to do. Debtors should not be afforded this advantage, especially when they failed

to comply with the discovery rules.

       For the forgoing reasons, the Oppidan Witnesses should be excluded from testifying at

the evidentiary hearing pursuant to Fed. R. Civ. P. 37(c)(1), as Debtors’ failed to identify them

in their discovery responses in violation of Fed. R. Civ. P. 26(e), and that failure was not

“substantially justified” or “harmless.” Excluding the witnesses also removes any prejudice to

Medina 55 occasioned by giving Debtors significant, additional time to analyze prior testimony

and prepare those witnesses.

   III.      The Oppidan Witnesses Should Also be Excluded Pursuant to Fed. R. Evid.
             401 and 403.

          Under Fed. R. Evid. 401, evidence that is not “of consequence in determining the action”

is irrelevant and should be excluded. Similarly, under Fed. R. Evid. 403, evidence that lacks

probative value and would lead to “unfair prejudice, confusing the issues, undue delay, and

wasting of time” should be excluded. Id. (cleaned up). In this case, given the stipulated evidence


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and limited facts at issue, the Oppidan witnesses’ purported testimony – except as to the

valuation of the properties, which should be excluded above – is entirely irrelevant and would

only confuse the issues and cause undue delay and a waste of time.

       This is a breach of contract case between Medina 55 and Debtors; the contract being the

purchase agreement dated January 1, 2019, as amended (the “Medina 55 Contract”). (See Joint

Exhibits 61-A through 61-E). The facts in dispute are whether Debtors breached the Medina 55

Contract, or whether Medina 55 anticipatorily breached the same, and the amount of damages.

In that regard, the parties have already stipulated to the admission of all the exhibits needed to

prove their claims. Yet, the Debtors seek to call the Oppidan Witnesses to testify regarding (1)

Oppidan’s due diligence in performing under the Oppidan Contract, (2) the history Oppidan’s

interactions with the City of Medina, and (3) the changes to the Oppidan Contract. None of this

is “of consequence in determining the action” and is therefore irrelevant under Fed. R. Evid.

401, and allowing such testimony would only “confuse the issues” and be a “waste of time”

under Fed. R. Evid. 403.

       Indeed, Oppidan’s due diligence efforts, interactions with the City, and reasons for

changing its contract with Debtors, have no bearing on whether Medina 55 or Debtors breached

the Medina 55 Contract. And even if Medina 55 is wrong in that regard, and the above

anticipated testimony would be relevant to the issues in this case, it would then be highly

prejudicial to Medina 55 as discussed above, because Medina 55 did not have the opportunity

to adequately conduct discovery into those matters, and should be excluded under Fed. R. Civ.

P. 37(c)(1), or on unfair prejudice grounds under Fed. R. Evid. 403. Any way you look at it, the

testimony of the Oppidan witnesses is either relevant but unduly prejudicial to Medina 55, or

irrelevant and would result in a confusion of the issues and a waste of time. In either case, the


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circumstances are such that the Oppidan witnesses should be excluded from being able to testify

in this matter.

    IV.      The Debtors Should be Judicially Estopped from Presenting
             Contradictory Evidence of the Fair Market Valuations of Their Properties.

          “[J]udicial estoppel is limited to those instances in which a party takes a position that is

clearly inconsistent with its earlier position.” Hossaini v. W. Missouri Med. Ctr., 140 F.3d 1140,

1143 (8th Cir. 1998) (citation omitted). “The underlying purpose of the doctrine is to protect

the integrity of the judicial process.” Id. (quotation omitted). This is especially true “where the

allegedly inconsistent prior assertion was accepted or adopted by the court in the earlier

[proceeding].” Id. (citation omitted). Federal courts in Minnesota have applied judicial estoppel

to exclude the presentation of testimony or evidence when the following elements are met:

          First, the party presenting the allegedly inconsistent theories must have prevailed
          in its original position (a litigant is not forever bound to a losing position).
          Second, there must be a clear inconsistency between the original and subsequent
          position of the party. Finally, there must not be any distinct or different issues of
          fact in the proceedings.

N. Cent. Companies, Inc. v. Minerva Dairy, Inc., No. 16-CV-3816 (PJS/HB), 2018 WL

4181605, at *5 (D. Minn. Aug. 31, 2018) (applying Minnesota state law in a “text book” case

of judicial estoppel). This, too, is a “text book” case of judicial estoppel, satisfying all the above

elements and barring the Debtors from calling the Oppidan witnesses – or any witness – to testify

to a different fair market valuation of the properties that what it testified to in the fall of 2021:

$10,230,000.

          As the first element, the Debtors previously testified before this Court in its September

8, 2021, verified motion to approve the sale of the properties to Oppidan, that the Oppidan

Contract price of $10,230.000 was the “fair market value” for the properties. [Dkt. No. 46, at ¶


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21]. Relying on this testimony, the Court made a finding of fact that this was the fair market

value for the properties in its November 9, 2021, Order Approving the Sale to Oppidan. [Dkt.

No. 103]. This element is undisputedly satisfied.

       As to the second and third elements, the fair market value of the properties at the time

the Medina 55 Contract was breached, is part of the damages calculation in this case. See

Costello v. Johnson, 265 Minn. 204, 209, 121 N.W.2d 70, 74 (1963) (explaining that the measure

of damages in these cases is “the difference between the contract price and the actual or market

value of the property at the time of the breach . . .”). Therefore, the fair market value of the

properties in the fall of 2021, which is when Medina 55 contends Debtors breached its contract,

is in no way distinct from the Debtors’ testimony in September 2021, [Dkt. No. 46], and the

Court’s finding of fact on November 9, 2021, [Dkt. No. 103], regarding the fair market value of

the properties at those times. The properties’ fair market value in the fall of 2021 is not

something that can be changed.

       Consequently, Debtors should be judicially estopped from being able to present any

testimony or evidence at the evidentiary hearing, including by way of the Oppidan witnesses,

that contradicts or is inconsistent with its fair market valuation testimony made in September

2021. To do so would “undermine the integrity of the judicial process” and could lead to

inconstant findings of fact by the Court.

                                            CONCLUSION

       Based on the foregoing, Medina 55 hereby requests that the Court grant the relief sought

by the Motion, and exclude the Oppidan witnesses from testifying in this matter and barring

Debtors from presenting any contradictory evidence of the fair market value of the properties in

the fall of 2021.


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Dated: March 6, 2023                  RAVICH MEYER KIRKMAN McGRATH
                                      NAUMAN & TANSEY,
                                      A PROFESSIONAL ASSOCIATION

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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


In re:
                                                                  Bankruptcy Case No. 21-40882
Jeffrey Cates and Christine Cici-Cates,                           Chapter 11

         Debtors.


                           UNSWORN CERTIFICATE OF SERVICE


      I, Will R. Tansey, declare under penalty of perjury that on March 6, 2023, caused the following
document(s) to be served:

1.       Notice of Motion and Motion for Expedited Hearing to Exclude Witnesses;
2.       Memorandum of Law; and
3.       Proposed Order,

by sending true and correct copies via ECF to the following parties:


     •   Alexander J. Beeby alexb@sapientialaw.com
     •   Kenneth C. Edstrom kene@sapientialaw.com,
         kathyl@sapientialaw.com;alexb@sapientialaw.com
     •   Daniel R. Gregerson dangregerson@grjn.com
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     •   US Trustee ustpregion12.mn.ecf@usdoj.gov
     •   Sarah J Wencil Sarah.J.Wencil@usdoj.gov



Dated: March 6, 2023                     By: /e/ Will R. Tansey




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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:
                                                            Bankruptcy Case No. 21-40882
Jeffrey Cates and Christine Cici-Cates,                     Chapter 11

         Debtors.


                                               ORDER


    This matter came before the Court on Medina 55, LLC’s (“Medina 55’s”) motion to exclude

witnesses and evidence filed March 6, 2023 (the “Motion”). After appropriate notice and

hearing and based on the evidence and record in this matter:

    IT IS HEREBY ORDERED:

         1.     Expedited relief is granted.

         2.     Medina 55’s Motion is granted. The Debtors shall not be permitted to call any

witnesses from Oppidan Holdings, LLC at the scheduled evidentiary hearing.

         3.     The Debtors shall also not be permitted to present any evidence or testimony at

the scheduled evidentiary hearing that contradicts Debtors’ fair market value testimony in its

verified motion filed September 8, 2021, [Dkt. No. 46], and as found by the Court in its

November 9, 2021, Order. [Dkt. No. 103].



Dated:
                                                     William J. Fisher
                                                     United States Bankruptcy Judge




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